             Case 2:19-bk-55093                              Doc 1              Filed 08/07/19 Entered 08/07/19 14:31:51                        Desc Main
                                                                                Document     Page 1 of 64
      Fill in this information to identify your case:


      United States Bankruptcy Court for the:

      ______            .:o:S-==
                             O:...:U"--T�H=E: .::RN�District of   _:O::.c:H:==.-10=---
                                                                                                                                       r-u E�D
                                                                                                                            ?019 AUG -7 PM 2: 14
      Case number (If known):   _______                                         p_ijapter you are filing under:
                                                                                I ijf Chapter 7
                                                                                 0 Chapter 11
                                                                                 0 Chapter 12
                                                                                f[fChapter 13




 Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.



i§fl Identify Yourself
                                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

 1.    Your full name

        Write the name that is on your              Kontarh
        government-issued picture
                                                   First name                                                      First name
        identification (for example,
        your driver's license or                     Tutu
        passport).                                 Middle name                                                     Middle name
                                                    Kpogba
        Bring your picture
       identification to your meeting              Last name                                                       Last name

       with the trustee.
                                                   Suffix (Sr., Jr., II, Ill)                                      Suffix (Sr., Jr., II, Ill)




2.     All other names you
       have used in the last 8                     First name                                                      First name
       years

        Include your married or                    Middle name                                                     Middle name
       maiden names.                                Neal
                                                   Last name                                                       Last name




                                                   First name                                                      First name


                                                   Middle name                                                     Middle name

                                                    Brown
                                                   Last name                                                       Last name




3.     Only the last 4 digits of
                                                   XXX            XX   -   4140                                    XXX           XX -
       your Social Security
                                                                                   ______




       number or federal                           OR                                                              OR
       Individual Taxpayer
       Identification number                       9xx - xx                                                        9xx - xx
       (ITIN)


Official Form 101                                                 Voluntary Petition for Individuals Filing for Bankruptcy                            page 1
          Case 2:19-bk-55093                       Doc 1             Filed 08/07/19 Entered 08/07/19 14:31:51                             Desc Main
                                                                     Document     Page 2 of 64

Debtor1        Kontarh Tutu                            Kpogba                                            Case number (Hnown)   _______________

               First Name   Middle Name                  Last Name




                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):



4.   Any business names
     and Employer                         IIZI   I have not used any business names or EINs.                  0      I have not used any business names or EINs.

     Identification Numbers
     (EIN) you have used in
     the last 8 years                     Business name                                                       Business name

     Include trade names and
     doing business as names
                                          Business name                                                       Business name




                                          EIN                                                                 EIN




                                          E IN                                                                EIN




s.   Where you live                                                                                           If Debtor 2 lives at a different address:




                                          1531 Franklin Lane
                                          Number           Street                                             Number         Street




                                          Columbus                                  OH         43229
                                          City                                      State     ZIP Code        City                                   State     ZIP Code


                                          Franklin
                                          County                                                              County



                                          If your mailing address is different from the one                   If Debtor 2's mailing address is different from
                                          above, fill it in here. Note that the court will send               yours, fill it in here. Note that the court will send
                                          any notices to you at this mailing address.                         any notices to this mailing address.



                                          1531 Franklin Lane
                                          Number           Street                                             Number         Street




                                          P.O. Box                                                            P.O.   Box


                                          Columbus OH                                       43229
                                          City                                     State      ZIP Code        City                                   State    ZIP Code




s.   Why you are choosing                 Check one:                                                          Check one:
     this district to file for
     bankruptcy                           �      Over the last 180 days before filing this petition,         �    Over the last 180 days before filing this petition,
                                                 I have lived in this district longer than in any                 I have lived in this district longer than in any
                                                 other district.                                                  other district.

                                          0      I have another reason. Explain.                              0   I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                          (See 28 U.S.C. § 1408.)




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                        page 2
             Case 2:19-bk-55093                   Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                             Desc Main
                                                                  Document     Page 3 of 64

Debtor   1        Kontarh Tutu                       Kpogba                                         Case number (if known)   ______________


                  First Name   M1ddle Name            Last Name




               Tell the Court About Your Bankruptcy Case



1.   The chapter of the                      Check one. (For a brief description of each, see Notice Required by 11 U.S.C.§ 342(b) for Individuals Filing
     Bankruptcy Code you                     for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

     are choosing to file
     under
                                             � Chapter?
                                             0 Chapter 11

                                             0 Chapter 12

                                             [[f Chapter 13

a.   How you will pay the fee                10 I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.


                                             0 I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 1 03A).


                                             �I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                 Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.




9.   Have you filed for                      � No
     bankruptcy within the
     last 8 years?                       l Oves.      District                             When                        Case number
                                                                                                   MM/ DD/YYYY

                                                      District                             When                        Case number
                                                                                                   MM I DDIYYYY

                                                      District                             When                        Case number
                                                                                                   MM/ DD/YYYY




10. Are any bankruptcy                       � No
     cases pending or being
     filed by a spouse who is            10 Yes.      Debtor                                                           Relationship to you

     not filing this case with                        District                             When                        Case number, if known
     you, or by a business                                                                         MM /DO /YYYY
     partner, or by an
     affiliate?
                                                      Debtor                                                           Relationship to you

                                                      District                             When                        Case number. if known
                                                                                                   MM /00/YYYY




11. Do you rent your                     fO' No.      Go to line 12.
     residence?                          � Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                      residence?

                                                      [Of No. Go to line 12.
                                                      jU Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                           this bankruptcy petition.




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                 page 3
           Case 2:19-bk-55093                       Doc 1               Filed 08/07/19 Entered 08/07/19 14:31:51                                 Desc Main
                                                                        Document     Page 4 of 64

Debtor 1        Kontarh Tutu                              Kpogba                                           Case number (if known),
                                                                                                                                 ______________


                First Name      Middle Name                 Last Name




             Report About Any Businesses You Own as a Sole Proprietor



12. Are you a sole proprietor                 � No. Go to Part 4.
    of any full- or part-time
    business?                             lo Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                          Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
                                                          Number          Street
    LLC.

    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                                           City                                                                      ZIP Code



                                                          Check the appropriate box to describe your business:

                                                          ICY Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          [0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          jU Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          jU Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          rtZf None of the above

13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
                                              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
    Bankruptcy Code and
                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
    debtor?
                                              Ul   No.    I am not filing under Chapter 11.
    For a definition of small
    business debtor, see                      0    No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
   11 U.S.C. § 101(510).                                  the Bankruptcy Code.

                                              0    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                          Bankruptcy Code.



             Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention



14. Do you own or have any                    JZI No
   property that poses or is
   alleged to pose a threat                   0    Yes.    What is the hazard?

   of imminent and
   identifiable hazard to
   public health or safety?
   Or do you own any
   property that needs
                                                           If immediate attention is needed, why is it needed?   ------ -----

   immediate attention?
   For example, do you own
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?

                                                           Where is the property?           ---   -,----------------------
                                                                                     :-:--:-   --::::
                                                                                     Number       Street




                                                                                     City                                                State     ZIP Code


Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                       page 4
             Case 2:19-bk-55093                    Doc 1          Filed 08/07/19 Entered 08/07/19 14:31:51                                    Desc Main
                                                                  Document     Page 5 of 64

Debtor   1       Kontarh Tutu                             Kpogba                                            Case number (if known),
                                                                                                                                  ______________ _

                First Name      Middle Name               Last Name




               Explain Your Efforts to Receive a Briefing About Credit Counseling


                                              About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
    briefing about credit                     You must check one:                                                  You must check one:
    counseling.
                                              �   I received a briefing from an approved credit                    �    I received a briefing from an approved credit
                                                  counseling agency within the 180 days before I                        counseling agency within the 180 days before I
    The law requires that you                     filed this bankruptcy petition, and I received a                      filed this bankruptcy petition, and I received a
    receive a briefing about credit               certificate of completion.                                            certificate of completion.
    counseling before you file for
                                                  Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                                  plan, if any, that you developed with the agency.                     plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you
                                              0   I received a briefing from an approved credit                    0    I received a briefing from an approved credit
    cannot do so, you are not
                                                  counseling agency within the 180 days before I                        counseling agency within the 180 days before I
    eligible to file.
                                                  filed this bankruptcy petition, but I do not have a                   filed this bankruptcy petition, but I do not have a
                                                  certificate of completion.                                            certificate of completion.
    If you file anyway, the court
                                                  Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                                  you MUST file a copy of the certificate and payment                   you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                                  plan, if any.                                                         plan, if any.
    you paid, and your creditors
    can begin collection activities
                                              0   I certify that I asked for credit counseling                     0    I certify that I asked for credit counseling
    again.
                                                  services from an approved agency, but was                            services from an approved agency, but was
                                                  unable to obtain those services during the 7                         unable to obtain those services during the 7
                                                  days after I made my request, and exigent                            days after I made my request, and exigent
                                                  circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                                  of the requirement.                                                   of the requirement.

                                                  To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                                  requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                                  what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                                  you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                                  bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                                  required you to file this case.                                      required you to file this case.

                                                  Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                                  dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                                  briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                                  If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                                  still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                                  You must file a certificate from the approved                        You must file a certificate from the approved
                                                  agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                                  developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                                  may be dismissed.                                                    may be dismissed.
                                                  Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                                  only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                                  days.                                                                days.

                                              0   I am not required to receive a briefing about                    0   I am not required to receive a briefing about
                                                  credit counseling because of:                                        credit counseling because of:

                                                  0   Incapacity.     I have a mental illness or a mental              0    Incapacity.   I have a mental illness or a mental
                                                                      deficiency that makes me                                            deficiency that makes me
                                                                      incapable of realizing or making                                    incapable of realizing or making
                                                                      rational decisions about finances.                                  rational decisions about finances.

                                                  0   Disability.     My physical disability causes me                 0    Disability.   My physical disability causes me
                                                                      to be unable to participate in a                                    to be unable to participate in a
                                                                      briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                      through the internet, even after I                                  through the internet, even after I
                                                                      reasonably tried to do so.                                          reasonably tried to do so.

                                                  0   Active duty. I am currently on active military                   0    Active duty. I am currently on active military
                                                                      duty in a military combat zone.                                     duty in a military combat zone.

                                                  If you believe you are not required to receive a                     If you believe you are not required to receive a
                                                  briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                                  motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
           Case 2:19-bk-55093                     Doc 1                 Filed 08/07/19 Entered 08/07/19 14:31:51                                       Desc Main
                                                                        Document     Page 6 of 64

Debtor 1         Kontarh Tutu                           Kpogba                                                       Case number   (If known).____ __________
                First Name   Middle Name                    Last Name




             Answer These Questions for Reporting Purposes


                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in                                  11   U.S C.§   101(8)
16. What kind of debts do
                                                 as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                                 lo No. Go to line 16b.
                                                 U Yes. Go to line 17.
                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                 money for a business or investment or through the operation of the business or investment.

                                                � No. Go to line 16c.
                                                fD Yes. Go to line 17.
                                           16c. State the type of debts you owe that are not consumer debts or business debts.




17. Are you filing under
    Chapter 7?                             I0   No.     I am not filing under Chapter       7.   Go to line   18.

    Do you estimate that after         � Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                              administrative expenses are paid that funds will be available to distribute to unsecured creditors?

    excluded and                                       � No
    administrative expenses
    are paid that funds will be                         0      Yes

    available for distribution
    to unsecured creditors?

18. How many creditors do              � 1-49                                             ro 1.ooo-5.000                                  lo 25,001-50,000
    you estimate that you              rcr 50-99                                          rrr 5,001-1o.ooo                                !0 50,001-100,000
    owe?                               [0 100-199                                         rcr 10.001-25.000                               !(f More than 100,000
                                       fCI 200-999
19. How much do you                    � $0-$50,000                                       ro $1,000,001-$10 million                        0 $500,000,001-$1 billion
    estimate your assets to            p-$50,001-$100,000                                 p- $10,000,001-$50 million                       0 $1,000,000,001-$10 billion
    be worth?                          p-$1oo.oo1-$5oo.ooo                                Cl:S50,000,001-$100 million                      0 $10,000,000,001-$50 billion
                                           p--$500,001-$1 million                         ro- $100,000,001-$500 million                    0 More than $50 billion
20. How much do you                    ro $0-$5o.ooo                                      IEf$1,000,001-$10 million                        0 $500,000,001-$1 billion
   estimate your liabilities           rcr $50,001-$1oo.ooo                               !Q: $10,000,001-$50 million                      0 $1,000,000,001-$10 billion
    to be?                             Ita" $100,001-$500,000                             IO $5o,ooo,oo1-$100 million                      0 $10,000,000,001-$50 billion
                                           ro-$500,001-$1 million                          j[T $100,000,001-$500 million                   0 More than $50 billion
             Sign Below


                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.

                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter                   7, 11, 12, or   13
                                           of title   11,   United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.

                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by                  11   U.S.C.§ 342(b).

                                           I request relief in accordance with the chapter of title            11,   United States Code, specified in this petition.

                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to             $250,000,     or imprisonment for up to   20   years, or both.
                                           18 U.S.C.§§' 152,            1341,   1519, and 3571.
                                                                                )




                                                                                                                           Signature of Debtor    2

                                                                                                                           Executed on
                                                                                                                                          MM I DD        /YYYY



Official Form   101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
             Case 2:19-bk-55093                 Doc 1            Filed 08/07/19 Entered 08/07/19 14:31:51                                  Desc Main
                                                                 Document     Page 7 of 64

Debtor   1      Kontarh Tutu                         Kpogba                                           Case number (it known),
                                                                                                                            _______________


                F1rst Name   Middle Name             Last Name




                                           I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are
                                           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                         available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                           the notice required by 11 U.S.C. § 342(b) and, in a case in which§ 707(b)(4)(D) applies, certify that I have no
If you are not represented                 knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not


                                                                                                                                  ct w wg
need to file this page.
                                                                                                                Date
                                                                                                                                MM         DO   /YYYY




                                              Printed name




                                              Firm name




                                              Number      Street




                                              City                                                             State            ZIP Code




                                              Contact phone      -------                                       Email address




                                              Bar number                                                       State




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
             Case 2:19-bk-55093              Doc 1            Filed 08/07/19 Entered 08/07/19 14:31:51                             Desc Main
                                                              Document     Page 8 of 64

Debtor   1       Kontarh Tutu                    Kpogba                                         Case number (if known),______________


                First Name   Middle Name          Last Name




For you if you are filing this             The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                      should understand that many people find it extremely difficult to represent
attorney                                   themselves successfully. Because bankruptcy has long-term financial and legal
                                           consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
                                           To be successful, you must correctly file and handle your bankruptcy case. The rules are very
an attorney, you do not
need to file this page.                    technical, and a mistake or inaction may affect your rights. For example, your case may be
                                           dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                           hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                           firm if your case is selected for audit. If that happens, you could lose your right to file another
                                           case, or you may lose protections, including the benefit of the automatic stay.

                                           You must list all your property and debts in the schedules that you are required to file with the
                                           court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                           in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                           property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                           If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                           Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                           be familiar with any state exemption laws that apply.


                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?

                                           0   No

                                           ({}  es

                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be fined or imprisoned?

                                           0 No
                                           [ZY  es

                                           Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                           0   No

                                           0   Yes. Name of Person  · ------ -----



                                                     Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).




                                           By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                           have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                           attorney may cause me to lose my rights or property if I do not properly handle the case.




                                                                                                          Signature of Debtor 2


                                                                                                          Date
                                                                                                                           MM I   DD /YYYY

                                           Contact phone 614-749-7746                                     Contact phone


                                           Cell phone                                                     Cell phone

                                           Email address                                                  Email address




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                    page 8
              Case 2:19-bk-55093                          Doc 1        Filed 08/07/19 Entered 08/07/19 14:31:51                              Desc Main
                                                                       Document     Page 9 of 64

    Fill in this information to identify your case:

                          Kontarh                    Tutu                  Kpogba
    Debtor    1
                          First Name                 Middle Name                Last Name

    Debtor 2
    (Spouse, if filing)   First Name                 Middle Name                Last Name


    United States Bankruptcy Court for the:       SOUTHER District of _O_H_IO
                                                                            ___             _




    Case number
    (If known)                                                                                                                                   0   Check if this is an
                                                                                                                                                     amended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.



                    Give Details About Your Marital Status and Where You Lived Before



    1. What is your current marital status?


        �Married
        [0 Not married

    2. During the last 3 years, have you lived anywhere other than where you live now?

       � No
       fO Yes. List all of the places you lived in the last 3 years.          Do not include where you live now.


                  Debtor 1:                                               Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                          lived there                                                                 lived there


                                                                                                0   Same as Debtor    1                              0   Same as Debtor   1


                                                                         From                                                                            From
                  Number           Street                                                           Number   Street
                                                                         To                                                                              To



                  City                            State   ZIP   Code                                City                  State   ZIP Code


                                                                                                0   Same as Debtor    1                              0   Same as Debtor   1


                                                                         From                                                                            From   ___


                  Number           Street                                                           Number   Street
                                                                         To                                                                              To



                  City                            State   ZIP   Code                                City                  State     ZIP   Code



   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?                   (Community property
        states and territories         include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       [td No
       p- Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 1 06H).


                  Explain the Sources of Your Income

Official Form 1 07                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
             Case 2:19-bk-55093                        Doc 1             Filed 08/07/19 Entered 08/07/19 14:31:51                                             Desc Main
                                                                        Document      Page 10 of 64

Debtor   1        Kontarh Tutu                          Kpogba                                                          Case number (if known)________________

                  First Name      M1ddle Name               Last Name




  4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
        Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
        If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


       fB No
       ft2f Yes. Fill in the details.
                                                                  Debtor 1                                                        Debtor 2

                                                                  Sources of income                 Gross income                  Sources of income                Gross income
                                                                  Check all that apply.             (before deductions and        Check all that apply.            (before deductions and
                                                                                                    exclusions)                                                    exclusions)


             From January 1 of current year until
                                                                   !tf   Wages, commissions,
                                                                                                        1334773                   0    Wages, commissions,
                                                                         bonuses, tips              $                                  bonuses, tips               $ 0
             the date you filed for bankruptcy:
                                                                   0     Operating a business                                     0    Operating a business



             For last calendar year:
                                                                   Gl    Wages, commissions,                                      0    Wages, commissions,
                                                                                                        29000
                                        Yr 2018
                                                                         bonuses, tips              $                                  bonuses, tips
                                                                                                                                                                $._o     _____


             (January 1 to December 31,                            0     Operating a business                                     0    Operating a business
                                                yyyy

             For the calendar year before that:
                                                                   �     Wages, commissions,                                      0    Wages, commissions,
                                                                         bonuses, tips                  20000                          bonuses, tips
             (January 1 to December 31, Yr2017
                                                                                                    $                                                           $ 0
                                                                   0     Operating a business                                     0    Operating a business
                                                yyyy


  5.   Did you receive any other income during this year or the two previous calendar years?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
       unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
       gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       [Or No
       p- Yes. Fill in the details.
                                                                  Debtor 1                                                         Debtor 2

                                                                  Sources of income              Gross income from                 Sources of income            Gross income from
                                                                  Describe below.                each source                       Describe below.              each source
                                                                                                 (before deductions and                                         (before deductions and
                                                                                                exclusions)                                                     exclusions)




             From January 1 of current year until                                               $0                                                              $0
             the date you filed for bankruptcy:
                                                                                                $
                                                                                                _______                         --------­
                                                                                                                                                                $
                                                                                                $
                                                                                                _______                         -------
                                                                                                                                                                $


             For last calendar year:                                                            $0                        _
                                                                                                                                                               $(:.._
                                                                                                                                                                 1   _           ___

                                                                                                        ________                                                         __



             (January 1 to December 31,         ___     )                                       $
                                                                                                __

                                                                                                                                                               $
                                                yyyy
                                                                                                $
                                                                                                _
                                                                                                        ____                                                   $
                                                                                                                _ _
                                                                                                                 __

                                                                                                                        __
                                                                                                                          _




             For the calendar year before that:                                                 $0                                                             $0
                                                                                                                                                               $
             (January 1 to December 31,         ___     )                                       $
                                                                                                                                                                __
                                                                                                                                                                  __



                                                yyyy
                                                                                                __
                                                                                                  __                                                                     __
                                                                                                    __ _ _                                                                    ____
                                                                                                                _   _   __                                                     ___
                                                                                                                          _
                                                                                                                                                                        __________


                                                                                                $
                                                                                                _                                                              $_

                                                                                                        __      _
                                                                                                                 _
                                                                                                          __


                                                                                                                    __
                                                                                                                        __
                                                                                                                            _




Official Form 1 07                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                           page 2
             Case 2:19-bk-55093                          Doc 1        Filed 08/07/19 Entered 08/07/19 14:31:51                             Desc Main
                                                                     Document      Page 11 of 64

Debtor   1          Kontarh Tutu                          Kpogba                                      Case number (if known) _______________
                First Name         Middle Name             Last Name




               List Certain Payments You Made Before You Filed for Bankruptcy




  6. Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?

     fD No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
                "incurred by an individual primarily for a personal, family, or household purpose."

                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?


                D     No. Go to line 7.


                D     Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                              total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                              child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                *   Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    � Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?


               rtJ No. Go to line 7.
               lo Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                              creditor. Do not include payments for domestic support obligations, such as child support and
                              alimony. Also, do not include payments to an attorney for this bankruptcy case.



                                                                            Dates of   Total amount paid            Amount you still owe     Was this payment for...
                                                                            payment


                                                                                        $.  _______             $.
                                                                                                                 ______                       D   Mortgage
                       Creditor's Name
                                                                                                                                              D   ear


                       Number     Street                                                                                                      D   Credit card

                                                                                                                                              D   Loan repayment

                                                                                                                                              D   Suppliers or vendors


                       City                      State         ZIP   Code                                                                     D   Other   _____




                                                                                       $_______ $                   ______________
                                                                                                                                              D   Mortgage
                       Creditor's Name
                                                                                                                                              D   ea r


                       Number     Street                                                                                                      D   Credit card

                                                                                                                                              D   Loan repayment

                                                                                                                                              D   Suppliers or vendors


                       City                      State        ZIP    Code
                                                                                                                                              D   Other   _____




                                                                                       $._ _ _ _ __             $__________                   D   Mortgage
                       Creditor's Name
                                                                                                                                              D   ear


                       Number     Street                                                                                                     D    Credit card

                                                                                                                                             D    Loan repayment

                                                                                                                                             0    Suppliers or vendors


                       City                      State
                                                                                                                                              D   Other
                                                                     Code
                                                                                                                                                          _____
                                                              ZIP




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 3
             Case 2:19-bk-55093                           Doc 1          Filed 08/07/19 Entered 08/07/19 14:31:51                                  Desc Main
                                                                        Document      Page 12 of 64

Debtor   1           Kontarh Tutu                          Kpogba                                            Case number     (if known),________________
                     First Name     Middle Name             Last Name




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C.               § 101.   Include payments for domestic support obligations,
     such as child support and alimony.


     � No
     fEt Yes. List all payments to an insider.
                                                                             Dates of    Total amount              Amount you still   Reason for this payment
                                                                             payment     paid                      owe


                                                                                        $.   _ _ _ __         $._____

               Insider's Name




               Number      Street




              City                                State     ZIP Code




                                                                                        $_____                $ _____



              Insider's Name



              Number       Street




              City                                State     ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.


     U No
     0       Yes. List all payments that benefited an insider.

                                                                            Dates of         Total amount       Amount you still      Reason for this payment
                                                                            payment          paid               owe
                                                                                                                                      Include creditor's name


              Insider's Name
                                                                                        $    _____             $.
                                                                                                                _____




              Number       Street




              City                                State    ZIP Code




                                                                                        $.  _____             $.___ __



              Insider's Name




              Number       Street




              City                                State    Zl P Code




Official Form 1 07                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page4
           Case 2:19-bk-55093                              Doc 1          Filed 08/07/19 Entered 08/07/19 14:31:51                                     Desc Main
                                                                         Document      Page 13 of 64

Debtor 1        Kontarh Tutu                                Kpogba                                               Case number (if known),
                                                                                                                                       __ _ _ _ _______ _ _ __


               First Name            M1ddle Name             Last Name




              Identify Legal Actions, Repossessions, and Foreclosures
  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.


     � No
     [0" Yes. Fill in the details.
                                                                       Nature of the case                  Court or agency                                      Status of the case



           Case title  __ ___ ___ ___ __
                                                                                                          Court Name
                                                                                                                                                                0 Pending
                                                                                                                                                                0 On appeal
                                                                                                          Number     Street                                     0 Concluded

           Case number
                                                                                                          City                     State   Zl P Code




           Case title  __ _ _ _ ________                                                                  Court Name
                                                                                                                                                                0 Pending
                                                                                                                                                                0 On appeal
                                                                                                          Number     Street                                     0 Concluded

           Case number
                                                                                                          City                     State   ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.


    � No. Go to line 11.
    J[J Yes. Fill in the information below.
                                                                                 Describe the property                                      Date          Value of the property



                                                                                                                                                           $.
                                                                                                                                                            ______
                Creditor's Name




                Number      Street                                              Explain what happened

                                                                                 0   Property was repossessed.

                                                                                 0   Property was foreclosed.

                                                                                 0   Property was garnished.

                City                               State    ZIP Code            0    Property was attached, seized, or levied.

                                                                                Describe the property                                       Date           Value of the proper\)



                                                                                                                                                           $.
                                                                                                                                                            ______



               Creditor's Name




               Number       Street
                                                                                Explain what happened


                                                                                0    Property was repossessed.

                                                                                0    Property was foreclosed.

                                                                                0    Property was garnished.
               City                                State    ZIP Code
                                                                                0    Property was attached, seized, or levied.




Official Form 1 07                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 5
             Case 2:19-bk-55093                        Doc 1                Filed 08/07/19 Entered 08/07/19 14:31:51                          Desc Main
                                                                           Document      Page 14 of 64

Debtor   1           Kontarh Tutu                         Kpogba                                               Case number   (if known)________________
                    First Name      Middle Name                Last Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?

    far No
     0       Yes. Fill in the details.


                                                                       Describe the action the creditor took                      Date action          Amount
                                                                                                                                  was taken
             Creditor's Name



                                                                                                                                                   $
                                                                                                                                                   ______

             Number     Street




             City                           State   ZIP Code           Last 4 digits of account number: XXXX-   _   _ __




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?

    � No
     0       Yes


                    List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    � No
     0       Yes. Fill in the details for each gift.



               Gifts with a total value of more than    $600          Describe the gifts                                          Dates you gave             Value
               per person                                                                                                         the gifts




                                                                                                                                                        $_____

             Person to Whom You Gave the Gift




                                                                                                                                                        $.
                                                                                                                                                         _____




             Number     Street




             City                           State   ZIP Code



             Person's relationship to you


             Gifts with a total value of more than     $600           Describe the gifts                                          Dates you gave        Value
             per person                                                                                                           the gifts




                                                                                                                                                        $    _____


             Person to Whom You Gave the Gift



                                                                                                                                                        $    _____




             Number     Street




             City                           State   ZIP Code



             Person's relationship to you   ______




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
           Case 2:19-bk-55093                         Doc 1               Filed 08/07/19 Entered 08/07/19 14:31:51                                Desc Main
                                                                         Document      Page 15 of 64

Debtor 1            Kontarh Tutu                         Kpogba                                                 Case number   (it known)__ ______________
                   First Name      Middle Name               Last Name




  14. Within      2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than                      $600 to any charity?

    fill   No

     0     Yes. Fill in the details for each gift or contribution.


            Gifts or contributions to charities                     Describe what you contributed                                        Date you           Value
            that total more than $600                                                                                                    contributed




                                                                                                                                                            $   _____

           Charity's Name




                                                                                                                                                            $.  _____




           Number      Street




           City           State        ZIP Code




                    List Certain Losses



  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?


    � No
    [0" Yes. Fill in the details.
            Describe the property you lost and                      Describe any insurance coverage for the loss                         Date of your       Value of property
            how the loss occurred                                                                                                        loss               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule AlB: Property.



                                                                                                                                                             $   _____




                   List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    � No
    [IT Yes. Fill in the details.
                                                                    Description and value of any property transferred                    Date payment or    Amount of payment
                                                                                                                                         transfer was
            Person Who Was Paid                                                                                                          made



            Number       Street
                                                                                                                                                            $   _____




                                                                                                                                                            $_____




            City                         State    ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7
           Case 2:19-bk-55093                         Doc 1          Filed 08/07/19 Entered 08/07/19 14:31:51                                  Desc Main
                                                                    Document      Page 16 of 64

Debtor 1           Kontarh Tutu                         Kpogba                                               Case number (if known),
                                                                                                                                   __________ ____ ___

                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                  Date payment or         Amount of
                                                                                                                                       transfer was made       payment


            Person Who Was Paid

                                                                                                                                                           $.  _____




            Number       Street


                                                                                                                                                           $   _____




            City                        State    ZIP Code




            Email or website address




            Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.


    � No
     0     Yes. Fill in the details.

                                                                   Description and value of any property transferred                   Date payment or     Amount of payment
                                                                                                                                       transfer was
                                                                                                                                       made
            Person Who Was Paid




             Number       Street
                                                                                                                                                           $_____




                                                                                                                                                           $_____




            City                        State    ZIP Code


  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.

     � No
     [Cf Yes. Fill in the details.
                                                                   Description and value of property         Describe any property or payments received         Date transfer
                                                                   transferred                               or debts paid in exchange                          was made

            Person Who Received Transfer




            Number       Street




            City                       State     ZIP Code



            Person's relationship to you   ------




            Person Who Received Transfer




            Number       Street




            City                       State     ZIP Code


            Person's relationship to you   ______




Official Form 1 07                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 8
            Case 2:19-bk-55093                        Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                                          Desc Main
                                                                     Document      Page 17 of 64

Debtor 1            Kontarh Tutu                         Kpogba                                                  Case number (if known),
                                                                                                                                       _ _______________

                    F1rst Name      Middle Name              Last Name




  19.   Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
        are a beneficiary? (These are often called             asset-protection devices.)

        U No
        0   Yes. Fill in the details.


                                                                     Description and value of the property transferred                                                 Date transfer
                                                                                                                                                                       was made




            Name of trust




               List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
        closed, sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
        brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

        j[;T No
        p- Yes. Fill in the details.
                                                                     Last   4   digits of account number   Type of account or              Date account was       Last balance before
                                                                                                           instrument                      closed, sold, moved,   closing or transfer
                                                                                                                                           or transferred


             Name of Financial Institution
                                                                     XXXX-      ____                       D   Checking                                           $.   ____




             Number       Street                                                                           D   Savings

                                                                                                           D   Money market

                                                                                                           D   Brokerage

             City                       State     ZIP Code
                                                                                                           D   Other   ----




                                                                     xxxx-      ____                       D   Checking                                           $    __

             Name of Financial Institution
                                                                                                                                                                   _     _




                                                                                                           D   Savings

             Number       Street                                                                           D   Money market

                                                                                                           D   Brokerage

                                                                                                           D   Other----


             City                       State     ZIP Code

 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
        securities, cash, or other valuables?
    � No
    [0 Yes. Fill in the details.
                                                                     Who else had access to it?                         Describe the contents                             Do you still
                                                                                                                                                                          have it?


                                                                                                                                                                          D   No

             Name of Financial Institution                         Name
                                                                                                                                                                          D   Yes



             Number      Street                                    Number        Street


                                                                   City            State     ZIP Code
            City                        State     ZIP Code


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                 page 9
            Case 2:19-bk-55093                            Doc 1              Filed 08/07/19 Entered 08/07/19 14:31:51                                        Desc Main
                                                                            Document      Page 18 of 64

Debtor 1            Kontarh Tutu                               Kpogba                                                          Case number (It known),
                                                                                                                                                     ________________

                    F1rst Name     Middle Name                  Last Name




 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       fflf No
       D Yes. Fill in the details.

                                                                       Who else has or had access to it?                             Describe the contents                 Do you still
                                                                                                                                                                           have it?

                                                                                                                                                                           DNo
             Name of Storage Facility                                  Name                                                                                                DYes


             Number       Street                                       Number       Street


                                                                       City State   ZIP   Code

             City                         State    ZIP   Code


                      Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
        or hold in trust for someone.
       � No
       [0 Yes. Fill in the details.
                                                                      Where is the property?                                         Describe the property           Value



             Owner's Name                                                                                                                                            $.   ____




                                                                     Number     Street
             Number       Street



                                                                     City                             State       ZIP   Code
             City                        State     ZIP   Code

                      Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:

  •     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
        hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
        including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  m     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
        utilize it or used to own, operate, or utilize it, including disposal sites.

  11    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
        substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


       � No
        D Yes. Fill in the details.

                                                                      Governmental unit                                 Environmental law, if you know it           Date of notice




           Name of site                                              Governmental unit


           Number       Street                                       Number     Street


                                                                     City                    State   ZIP   Code


           City                         State     ZIP   Code



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 10
             Case 2:19-bk-55093                         Doc 1               Filed 08/07/19 Entered 08/07/19 14:31:51                                           Desc Main
                                                                           Document      Page 19 of 64

Debtor   1
                     Kontarh Tutu                          Kpogba                                                            Case number (if known)'----
                     First Name     M1ddle Name                Last Name




  25. Have you notified any governmental unit of any release of hazardous material?

     ftJ No
     0       Yes. Fill in the details.

                                                                     Governmental unit                                   Environmental law, if you know it                   Date of notice




              Name of site                                           Governmental unit


              Number       Street                                    Number     Street



                                                                     City                  State    ZIP    Code


              City                       State    ZIP   Code


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     � No
     0       Yes. Fill in the details.
                                                                                                                                                                              Status of the
                                                                       Court or agency                                        Nature of the case
                                                                                                                                                                              case


             Case title   _____________


                                                                                                                                                                              0   Pending
                                                                       Court Name
                                                                                                                                                                              0   On appeal

                                                                       Number     Street                                                                                      0   Concluded



             Case number
                                                                       City                        State    ZIP   Code



                       Give Details About Your Business or Connections to Any Business

  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             0   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             0   A member of a limited liability company (LLC) or limited liability partnership (LLP)
             0   A partner in a partnership
             0   An officer, director, or managing executive of a corporation

             0   An owner of at least 5% of the voting or equity securities of a corporation

    f6Zf No. None of the above applies. Go to Part 12.
    fEf Yes. Check all that apply above and fill in the details below for each business.
                                                                       Describe the nature of the business                                  Employer Identification number

                                                                                                                                            Do not include Social Security number or ITIN.
              Business Name

                                                                                                                                            EIN:
              Number       Street
                                                                       Name of accountant or bookkeeper                                     Dates business existed



                                                                                                                                            From               To    ___




              City                       State    ZIP   Code

                                                                       Describe the nature of the business                                  Employer Identification number

                                                                                                                                            Do not include Social Security number or ITIN.
              Business Name

                                                                                                                                            EIN:
              Number       Street
                                                                       Name of accountant or bookkeeper                                     Dates business existed




                                                                                                                                            From               To    ___




              City                      State     ZIP Code



Official Form 1 07                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                        page 11
             Case 2:19-bk-55093                          Doc 1               Filed 08/07/19 Entered 08/07/19 14:31:51                               Desc Main
                                                                            Document      Page 20 of 64

Debtor   1            Kontarh Tutu                          Kpogba                                              Case number (if known), ________________

                     First Name      Middle Name                Last Name




                                                                                                                                 Employer Identification number
                                                                        Describe the nature of the business
                                                                                                                                 Do not include Social Security number or ITIN.
              Business Name
                                                                                                                                 EIN:

              Number        Street
                                                                        Name of accountant or bookkeeper                         Dates business existed




                                                                                                                                 From     ___       To    ___



              City                        State    ZIP   Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.


     U No
      0      Yes. Fill in the details below.

                                                                        Date issued




              Name                                                      MM I DD/YYYY




              Number       Street




              City                        State    ZIP   Code




                     Sign Below


         I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
         answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
         in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.




         xV{
             Signature of                                                               Signature of Debtor 2



                                                                                        Date   -------




         Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?


      �       No

         0    Yes




         Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         0   No

         0   Yes.Nameofper son          ___________________ _____________________________
                                                                                                                        Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                         Declaration, and Signature (Official Form 119).




Official Fo rm 1 07                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page12
              Case 2:19-bk-55093                          Doc 1          Filed 08/07/19 Entered 08/07/19 14:31:51                                                                                                                                                                                 Desc Main
                                                                        Document      Page 21 of 64

     Fill in this information to identify your case:


     Debtor 1              Kontarh                       Tutu                               Kpogba
                           F1rst Name                   Middle Name                                   Last Name

     Debtor2
     (Spouse, if filing)   For>t Name                   Middle Name                                   Last Name


     United States Bankruptcy Court for the:        SOUTHER District          of      OHIO

 Case number                                                                                                                                                                                                                                                                                           0   Check if this is an
                           (If   known)                                                                                                                                                                                                                                                                    amended filing




Official Form 1 06Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.



                   Summarize Your Assets


                                                                                                                                                                                                                                                                                                   Your assets

                                                                                                                                                                                                                                                                                                   Value of what you own

1.     Schedule AlB: Properly (Official Form 106NB)
                                                                                                                                                                                                                                                                                                       $   0
        1a. Copy line        55, Total real estate, from Schedule AlB         . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..




        1 b. Copy line 62, Total personal property, from Schedule AlB ..............................................................................................                                                                                                                         .         $   1650


        1c. Copy line 63, Total of all property on Schedule              AlB ........................................................................................................
                                                                                                                                                                                                                                                                                                       $   1650
                                                                                                                                                                                                                                                                                             .




flfj               Summarize Your Liabilities



                                                                                                                                                                                                                                                                                                   Your liabilities

                                                                                                                                                                                                                                                                                                   Amount you owe

2.     Schedule 0: Creditors Who Have Claims Secured by Properly (Official Form 1 060)
                                                                                                                                                                                                                                                                                                       $   0
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule                                                                                                                                          0 ...........               .




3.     Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                                                                                                       $ 8172
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule                                                                                           ElF ...........................................                                                  .




       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule                                                                                                 ElF ......................................                                              .


                                                                                                                                                                                                                                                                                                   +   $   155750



                                                                                                                                                                                                                          Your total liabilities                                                       $   163922




.,,,               Summarize Your Income and Expenses



4. Schedule 1: Your Income (Official Form 1061)
                                                                                                                                                                                                                                                                                                       $       1680
       Copy your combined monthly income from line 12 of Schedule I .........................................................................................                                                                                                                                .




5. Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J ...................................................................................................                                                                                                                            .
                                                                                                                                                                                                                                                                                                       $   3223




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                                                                              page 1 of 2
               Case 2:19-bk-55093                 Doc 1        Filed 08/07/19 Entered 08/07/19 14:31:51                           Desc Main
                                                              Document      Page 22 of 64
   Debtor 1          Kontarh Tutu                    Kpogba                                            Case number (if known),
                                                                                                                             ______________


                     First Name     Middle Name       Last Name




                  Answer These Questions for Administrative and Statistical Records


    6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?


         � o. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
         �es
    7. What kind of debt do you have?

         ;:;aYour debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
              family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.


         0 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.




    8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
         Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $ 2868




    9. Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:



                                                                                                                Total claim



           From Part 4 on Schedule ElF, copy the following:




         9a. Domestic support obligations (Copy line 6a.)                                                      $    0



         9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                             $     8172



         9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                   $     0



         9d. Student loans. (Copy line 6f.)                                                                    $     137723



         9e. Obligations arising out of a separation agreement or divorce that you did not report as                 0
                                                                                                               $
              priority claims. (Copy line 6g.)


         9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$        0



         9g. Total. Add lines 9a through 9f.                                                                   $      145895




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                     page 2 of 2
             Case 2:19-bk-55093                       Doc 1          Filed 08/07/19 Entered 08/07/19 14:31:51                           Desc Main
                                                                    Document      Page 23 of 64
Fill in this information to identify your case and this filing:



Debtor   1            Kontarh                     Tutu                   Kpogba
                      First Name                  Middle Name               Last Name


Debtor 2
(Spouse, if filing)   F1rst Name                  M1ddle Name               Last Name



United States Bankruptcy Court for the:      SOUTHER District of OHIO

Case number
                                                                                                                                                  0   Check if this is an
                                                                                                                                                      amended filing


Official Form 1 06A/B

Schedule AlB: Property                                                                                                                                           12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


                Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In


1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   M No. Go to Part 2.
   [0" Yes. Where is the property?
                                                                      What is the property? Check all that apply.
                                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                      0   Single-family home                            the amount of any secured claims on Schedule 0:
      1.1.                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                      0   Duplex or multi-unit building
              Street address, if available, or other description
                                                                      0   Condominium or cooperative                    Current value of the          Current value of the
                                                                      0   Manufactured or mobile home                   entire property?              portion you own?

                                                                      0   Land
                                                                                                                        $   _____ _                   $   ______



                                                                      0   Investment property

              City                            State      ZIP Code
                                                                      0   Timeshare                                     Describe the nature of your ownership
                                                                                                                        interest (such as fee simple, tenancy by
                                                                      0   Other   _____________
                                                                                                                        the entireties, or a life estate), if known.

                                                                      Who has an interest in the property? Check one.

                                                                      0 Debtor 1 only
              County                                                  0 Debtor 2 only
                                                                      0 Debtor 1 and Debtor 2 only                      0   Check if this is community property
                                                                                                                            (see instru ctions)
                                                                      0 At least one of the debtors and another
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:     ------




    If you own or have more than one, list here:

                                                                     What is the property? Check all that apply.
                                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                     0 Single-family home                               the amount of any secured claims on Schedule 0:
      1.2.                                                           0 Duplex or multi-unit building
                                                                                                                        Creditors Who Have Clatms Secured by Property.
             Street address, if available, or other description
                                                                     0 Condominium or cooperative                       Current value of the          Current value of the
                                                                     0 Manufactured or mobile home                      entire property?              portion you own?

                                                                     0 Land                                             $   _____
                                                                                                                                 _
                                                                                                                                                      $   _____ _



                                                                     0 Investment property
                                                                                                                        Describe the nature of your ownership
             City
                                                                     0 Timeshare
                                             State      ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                     0 Other   ___________ _
                                                                                                                        the entireties, or a life estate), if known.

                                                                     Who has an interest in the property? Check one.

                                                                     0 Debtor 1 only
             County                                                  0 Debtor 2 only
                                                                     0 Debtor 1 and Debtor 2 only                       0   Check if this is community property
                                                                     0 At least one of the debtors and another              (see instructions)


                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:      -------




Official Form 1 06AIB                                                 Schedule AlB: Property                                                                page   1
               Case 2:19-bk-55093                      Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                                                                                                                                         Desc Main
                                                                      Document      Page 24 of 64
 Debtor    1           Kontarh Tutu                          Kpogba                                                                                                     Case number (if known)�������- -���
                       First Name    M1dd\e Name              Last Name




                                                                          What is the property? Check all that apply.                                                                                               Do not deduct secured claims or exemptions. Put
                                                                                                                                                                                                                    the amount of any secured claims on Schedule 0:
      1.3.
                                                                           0          Single-family home
                                                                                                                                                                                                                    Creditors Who Have Claims Secured by Property.
               Street address, if available, or other description          0          Duplex or multi-unit building
                                                                                                                                                                                                                    Current value of the                                Current value of the
                                                                           0         Condominium or cooperative
                                                                                                                                                                                                                    entire property?                                    portion you own?
                                                                           0          Manufactured or mobile home

                                                                           0          Land                                                                                                                          $   ______                                          $.   ______




                                                                           0          Investment property
                                                                                                                                                                                                                    Describe the nature of your ownership
               City                            State     ZIP Code          0          Timeshare
                                                                                                                                                                                                                    interest (such as fee simple, tenancy by
                                                                           0         Other          _____________
                                                                                                                                                                                                                   the entireties, or a life estate), if known.

                                                                          Who has an interest in the property? Check one.

                                                                           0 Debtor 1 only
               County
                                                                           0 Debtor 2 only
                                                                           0 Debtor 1 and Debtor 2 only                                                                                                            0        Check if this is community property
                                                                                                                                                                                                                             (see instructions)
                                                                           0 At least one of the debtors and another
                                                                          Other information you wish to add about this item, such as local
                                                                          property identification number:                                                         -------




2   Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here                         .   . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   -+




                Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    IEf No
    [f;T Yes

               Make:
                                                     Subaru               Who has an interest in the property? Check one.                                                                                          Do not deduct secured claims or exemptions. Put
    3.1.
                                                                                                                                                                                                                   the amount of any secured claims on Schedule 0:
               Model:
                                                   Forrester              ,llJ       Debtor 1 only
                                                                                                                                                                                                                   Creditors Who Have Claims Secured by Property
                                                     1999                 0 Debtor 2 only
               Year:
                                                                                                                                                                                                                   Current value of the                                 Current value of the
                                                                          0 Debtor 1 and Debtor 2 only
               Approximate mileage:
                                                   145.000                                                                                                                                                         entire property?                                     portion you own?
                                                                          0 At least one of the debtors and another
               Other information:

                                                                           0 Check                   if this is community property (see                                                                            $ 500                                                $ 500
                Car
                                                                                     instructions)




    If you own or have more than one, describe here:


                                                                          Who has an interest in the property? Check one.
    3.2.       Make:                                                                                                                                                                                               Do not deduct secured claims or exemptions. Put
                                                                                                                                                                                                                   the amount of any secured claims on Schedule 0:
               Model:
                                                                          0          Debtor 1 only
                                                                                                                                                                                                                   Creditors Who Have Claims Secured by Property
                                                                          0          Debtor 2 only
               Year:                                                                                                                                                                                              Current value of the                                  Current value of the
                                                                          0          Debtor 1 and Debtor 2 only
                                                                                                                                                                                                                  entire property?                                      portion you own?
               Approximate mileage:
                                                                          0      At least one of the debtors and another

               Other information:

                                                                          0 Check if this is community                                                       property (see                                        $  _
                                                                                                                                                                                                                      _ __ _                                            $.
                                                                                                                                                                                                                                                                         ______


                                                                                                                                                                                                                                                                   _

                                                                                 instructions)




Official Form 1 06AIB                                                      Schedule AlB: Property                                                                                                                                                                               page 2
                  Case 2:19-bk-55093                 Doc 1   Filed 08/07/19 Entered 08/07/19 14:31:51                                         Desc Main
                          Kontarh Tutu
                                                           Document
                                                      Kpogba
                                                                          Page 25 of 64
    Debtor    1                                                                                           Case number (if known),  _________________

                          First Name   Middle Name     Last Name




                                                                    Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
       3.3.       Make:
                                                                                                                                                                             0:
                  Model:
                                                                   [[f Debtor 1 only                                          the amount of any secured claims on Schedule
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                   [CJ"Debtor 2 only
                  Year:
                                                                   p-Debtor 1 and Debtor 2 only                               Current value of the
                                                                                                                              entire property?
                                                                                                                                                         Current value of the
                                                                                                                                                         portion you own?
                  Approximate mileage:                             f0 At least one of the debtors and another
                  Other information:
                                                                    0 Check if this is community property (see                $    ______                $.   ______




                                                                       instructions)



                                                                   Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
       3.4.       Make:
                                                                                                                                                                             0:
                  Model:
                                                                   lo Debtor 1 only                                           the amount of any secured claims on Schedule
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                   fEJ Debtor 2 only
                  Year:
                                                                   lo Debtor 1 and Debtor 2 only                              Current value of the
                                                                                                                              entire property?
                                                                                                                                                         Current value of the
                                                                                                                                                         portion you own?
                  Approximate mileage:                             lo At least one of the debtors and another
                  Other information:
                                                                    0 Check if this is community property (see                $    ______                $    _ _____




                                                                       instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     � No
     ra ves

                                                                   Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
       4.1.       Make:
                                                                                                                              the amount of any secured claims on Schedule   0:
                  Model:
                                                                   0   Debtor 1 only
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                   0 Debtor 2 only
                  Year:
                                                                   0 Debtor 1 and Debtor 2 only                               Current value of the      Current value of the
                  Other information:                               0 At least one of the debtors and another                  entire property?          portion you own?


                                                                    0 Check if this is community property (see                $.______                   $.
                                                                                                                                                          ______

                                                                       instructions)




      If you own or have more than one, list here:


      4.2.        Make:
                                                                   Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule   0:
                  Model:
                                                                   0   Debtor 1 only
                                                                                                                              Creditors Who Have Clatms Secured by Property.
                                                                   0   Debtor 2 only
                  Year:                                                                                                       Current value of the      Current value of the
                                                                   0 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
                  Other information:                               0 At least one of the debtors and a noth er

                                                                   0 Check if this is community property (see                 $______                   $ ______




                                                                       instructions)




5     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here
                                                                                                                                                      r ,..

Official Form 1 06A/B                                               Schedule AlB: Property                                                                      page 3
              Case 2:19-bk-55093                           Doc 1   Filed 08/07/19 Entered 08/07/19 14:31:51                      Desc Main
                      Kontarh Tutu
                                                                 Document
                                                            Kpogba
                                                                                Page 26 of 64
 Debtor 1                                                                                           Case number   (if known) ______________ __
                      First Name             Middle Name     Last Name




                  Describe Your Personal and Household Items

                                                                                                                                     Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured claims
                                                                                                                                     or exemptions.

6.     Household goods and furnishings

       Examples: Major appliances, furniture, linens, china, kitchenware

      10 No
      � Yes. Describe.········               Furnishings- 1531 Franklin Lane Columbus, Oh 43229                                       $ 1000


7.     Electronics

       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                      collections; electronic devices including cell phones, cameras, media players, games

      � No
      f[J Yes. Describe ......... .                                                                                                   $   _______




B. Collectibles of value

       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      !i1   No
      ["0" Yes. Describe.........      .
                                                                                                                                      $   _______




9. Equipment for sports and hobbies

       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments

     �      No
     fO     Yes. Describe ..........                                                                                                  $

                                                                                                                                          ______ _



10. Firearms

       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      !i1 No
      ["0" Yes. Describe ......... .                                                                                                  $   _


                                                                                                                                              _     _

                                                                                                                                              _          _


11.Ciothes                                                                                                                                               _

                                                                                                                                                              _

       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories                                                                      _




      � No
      jD" Yes. Describe..........                                                                                                     $   _______




12.Jewelry

       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                      gold, silver

      fD No
      � Yes. Describe...... .... Earring, And Neckless- 1531 Franklin Lane Columbus, Oh 43229
                                   .
                                                                                                                                      $_50


13. Non-farm animals

      Examples: Dogs, cats, birds, horses

      � No
      [[] Yes. Describe ...........                                                                                                   $
                                                                                                                                          ______




14.   Any other personal and household items you did not already list, including any health aids you did not list


      � No
      [IT Yes. Give specific                                                                                                          $
            information. .............
                                                                                                                                          _______
                                         .




15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                    1050
                                                                                                                                      $_______________

      for Part 3. Write that number here .                                                                               ...... -+



Official Form 1 06A/B                                                    Schedule AlB: Property                                                      page 4
               Case 2:19-bk-55093                         Doc 1         Filed 08/07/19 Entered 08/07/19 14:31:51                            Desc Main
                                                                       Document      Page 27 of 64
    Debtor 1          Kontarh Tutu                           Kpogba                                       Case number   (it known)·------ -----
                     First Name        M1dd\e Name             Last Name




.,,,            Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                   Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured claims
                                                                                                                                              or exemptions.


16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      10 No
      fO Yes ....                                                                                                       Cash:                  $




17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                     and other similar institutions. If you have multiple accounts with the same institution, list each.

     lo   No

     �    Yes .................... .                                        Institu tion name:



                                       17.1.   Checking account:            Saving Account- Telhio Bank                                        $ 100

                                       17.2.   Checking account:            Checking Account- Huntington Bank                                  $0

                                       17.3. Savings    account:                                                                               $    _
                                                                                                                                                        _ __ ___




                                       17.4.   Savings account:                                                                                $    ____
                                                                                                                                                        ___




                                       17.5.   Certificates of deposit:                                                                        $    _______




                                       17.6. Other financial   account:                                                                        $   ______




                                       17.7. Other financial   account:                                                                        $    _
                                                                                                                                                     ______




                                       17.8.   Other financial account:                                                                        $   ______




                                       17.9. Other financial   account:                                                                        $       _______




18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts

      fM No
      fO" Yes...                       Institution or issuer name:


                                                                                                                                               $   ________




                                                                                                                                               $   ________




                                                                                                                                               $   _
                                                                                                                                                       _ _ __ ___




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
      an LLC, partnership, and joint venture

     [ijf No                           Name of entity:                                                                  % of   ownership:

     [IT Yes. Give specific                                                                                             _____         %        $
          information about
                                                                                                                                                   _______




          them ..                                                                                                       _____         %        $.  _
                                                                                                                                                        _ _ _ ___




                                                                                                                        _____         %        $   __________




    Official Form 1 06NB                                                   Schedule AlB: Property                                                          page 5
              Case 2:19-bk-55093                    Doc 1             Filed 08/07/19 Entered 08/07/19 14:31:51                Desc Main
                                                                     Document      Page 28 of 64
 Debtor   1       Kontarh Tutu                           Kpogba                                    Case number (if known),
                                                                                                                         ______ ______ _____

                 First Name     Middle Name                   Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


   g' No
   fO Yes. Give specific        Issuer name:
          information about
          them.                                                                                                                    $    _______




                                                                                                                                   $    ______ _




                                                                                                                                   $.   _______




21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   � No
   0 Yes. List each
          account separately.   Type of account:                 Institution name:

                                401 (k) or    similar plan:                                                                        $.  _ _ _ _ _ _ _ __




                                Pension plan:                                                                                      $.  _________




                                IRA:                                                                                               $.  _ _ ___ __
                                                                                                                                                 _




                                Retirement account:                                                                                $   _________




                                Keogh:                                                                                             $.   _______ _




                                Additional account:                                                                                $   _________




                                Additional account:                                                                                $   _________




22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   � No
   rEf Yes.                                             Institution name or individual:

                                Electric:
                                                                                                                                  $    _______ _




                                Gas:
                                                                                                                                  $     __ ___ _
                                                                                                                                                _




                                Heating oil:
                                                                                                                                  $    _______ _




                                Security deposit on rental        unit:   ------

                                                                                                                                  $     ______ _




                                Prepaid rent:
                                                                                                                                  $     _______




                                Telephone:
                                                                                                                                  $     _______




                                Water:
                                                                                                                                  $    ________




                                Rented furniture:
                                                                                                                                  $    _ __
                                                                                                                                            ____




                                Other:
                                                                                                                                  $    _ _____ __




23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

  � No
  IEf Yes ..                    Issuer name and description:

                                                                                                                                  $_______




                                                                                                                                  $.   ___ _ __
                                                                                                                                               _




                                                                                                                                  $.
                                                                                                                                   ______ _




Official Form 106A/B                                                      Schedule A/8: Property                                             page 6
              Case 2:19-bk-55093                       Doc 1        Filed 08/07/19 Entered 08/07/19 14:31:51                                    Desc Main
                    Kontarh Tutu
                                                                  Document
                                                             Kpogba
                                                                                 Page 29 of 64
 Debtor   1                                                                                               Case number (if known).
                                                                                                                                _ _ _ _ ___________


                   First Name        M1ddle Name             Last Name




24.1nterests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S. C. §§ 530(b)(1 ), 529A(b), and 529(b)(1 ).

  �       No

  ro      Yes
                                             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):


                                                                                                                                                      $    _______




                                                                                                                                                      $    _______




                                                                                                                                                      $    ______




25. Trusts, equitable or future interests in property (other than anything listed in line 1 ), and rights or powers
   exercisable for your benefit

   � No
   fD Yes. Give specific
          information about them ..                                                                                                                   $.  _______




26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

  �I      No

  rc1     Yes. Give specific
          information about them ..                                                                                                                   $.  ______




27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

  � No
  [1J Yes. Give specific
          information about them ....                                                                                                                 $   _______




Money or property owed to you?                                                                                                                        Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.


28. Tax refunds owed to you

  fUJ No
  ro Yes. Give specific information                                                                                        Federal:               $
                about them, including whether
                you already filed the returns                                                                              State:                 $
                and the tax years. .......................
                                                                                                                            Local:                $



29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

  � No
  fD Yes. Give specific information..
                                                                                                                          Alimony:                    $   ________




                                                                                                                          Maintenance:                $   ________




                                                                                                                          Support:                    $   ________




                                                                                                                          Divorce settlement:         $   ________




                                                                                                                          Property settlement:        $   ________




30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                  Social Security benefits; unpaid loans you made to someone else

  � No
  [0 Yes. Give specific information..
                                                                                                                                                      $_______________




Official Form 106AIB                                                     Schedule AlB: Property                                                                  page 7
              Case 2:19-bk-55093                 Doc 1        Filed 08/07/19 Entered 08/07/19 14:31:51                                             Desc Main
                                                             Document      Page 30 of 64
 Debtor   1       Kontarh Tutu                       Kpogba                                                  Case number (If known)
                                                                                                                                  __________                        _____
                 First Name      Middle Name         Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

  fZi     No
   fTi
   I ,..... Yes. Name the insurance company          Company name:                                              Beneficiary:                                Surrender or refund value:
               of each policy and list its value..

                                                                                                                                                            $   _____ _




                                                                                                                                                            $    ___     _ __ _


                                                                                                                                                            $.  _______


32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.

  fZi     No

  fD      Yes. Give specific information.
                                                                                                                                                            $   _ _ _ __ __ _
                                                                                                                                                                             _




33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue

   � No
   rEf Yes. Describe each claim .. .
                                                                                                                                                            $____          _ ___


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims

  fZi No
  fD Yes. Describe each claim..
                                                                                                                                                            $_   ________




35. Any financial assets you did not already list

   �      No

   [0 Yes. Give specific information....                                                                                                                    $




                                                                                                                                                        I
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                 100
   for Part 4. Write that number here .                                                                                                    ...... -+        $




                Describe Any Business-Related Property You Own or Have an Interest ln. List any real estate in Part 1.


37. Do you own or have any legal or equitable interest in any business-related property?

  fZi No. Go to Part 6.
  fD Yes. Go to line 38.
                                                                                                                                                        Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured claims
                                                                                                                                                        or exemptions.


38. Accounts receivable or commissions you already earned

  fli     No

  fD    Yes. Describe..... .
                                                                                                                                                        $ ________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems,      printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

  � No
  fD Yes. Describe.......                                                                                                                               $_       ___ ___
                                                                                                                                                                        _




Official Form 106NB                                                Schedule AlB: Property                                                                                page 8
            Case 2:19-bk-55093                            Doc 1      Filed 08/07/19 Entered 08/07/19 14:31:51                         Desc Main
                                                                    Document      Page 31 of 64
 Debtor 1            Kontarh Tutu                          Kpogba                                Case number (if known).
                                                                                                                       _________ _____ _


                    First Name        Middle Name           Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

  �       No

  !1J    Yes. Describe ..
                                                                                                                                        $


41. Inventory
  fiD No
  fD Yes. Describe.....                                                                                                                          ______
                                                                                                                                        $._
                                                                                                                                                                   _




42.lnterests in partnerships or joint ventures

  � No
  fD Yes. Describe ..                Name of entity:                                                                % of ownership:

                                                                                                                    ___     %           $  __________




                                                                                                                    ___     %           $  _______ ___




                                                                                                                    ___     %           $  _______________




43.,C.V.S tomer lists, mailing lists, or other compilations
  I�      No

  f5 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
         f5 No
         fO Yes. Describe..
                                                                                                                                           $    ________________




44.,AJ}.V business-related property you did not already list
   I� No
   f5 Yes. Give specific                                                                                                                   $
          information ...... . . .
                                                                                                                                                ________________




                                                                                                                                           $    ________________




                                                                                                                                           $______              _




                                                                                                                                           $    ________________




                                                                                                                                           $,______ _            _




                                                                                                                                           $



                                                                                                                                       I
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
      for Part 5. Write that number here ...        . .
                                                                                                                                           $.
                                                                                                                                            __    o
                                                                                                                                              _____




                 Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest ln.
                 If you own or have an interest in farmland, list it in Part 1.



46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

  l"lJ No. Go to Part 7.
  j"O Yes. Go to line 47.
                                                                                                                                        Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured claims
                                                                                                                                        or exemptions.
47. Farm animals

      Examples: Livestock, poultry, farm-raised fish

  � No
  rEi Yes
                                                                                                                                                $______          _




Official Form      106AIB                                               Schedule AlB: Property                                                        page 9
            Case 2:19-bk-55093                     Doc 1   Filed 08/07/19 Entered 08/07/19 14:31:51                                                                                                                                                         Desc Main
                  Kontarh Tutu
                                                         Document
                                                    Kpogba
                                                                        Page 32 of 64
 Debtor 1                                                                                                                                                          Case number                             (it known) _______________
                  First Name    Middle Name          Last Name




48. Crops-either growing or harvested

   fij No
   fO Yes. Give specific
        information. ....                                                                                                                                                                                                                                        $     _______




49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   � No
   [D Yes
                                                                                                                                                                                                                                                                  $.   _______




50. Farm and fishing supplies, chemicals, and feed

   �    No

   10 Yes .....
                                                                                                                                                                                                                                                                 $     ____ ___




51. Any farm- and commercial fishing-related property you did not already list
   !iY No
   rcr Yes. Give specific
        information ..                                                                                                                                                                                                                                           $     _______




52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                                                                           0
                                                                                                                                                                                                                                                                 $
    for Part 6. Write that number here .. . .
                                                                                                                                                                                                                                                                  _______


                                              ..                                                                                                                                                                                                 . ....... -+




              Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

   � No
                                                                                                                                                                                                                                                                    $.
   [0" Yes. Give specific                                                                                                                                                                                                                                                _____ _




        information ..                                                                                                                                                                                                                                             $     ______




                                                                                                                                                                                                                                                                    $    _____ _




54. Add the dollar value of all of your entries from Part 7. Write that number here .                                                                                                                                                                              $0




              List the Totals of Each Part of this Form



55. Part 1: Total real estate, line 2 ..                                                                                                                                                                                                        .......... -+    s._o    _____




56. Part 2: Total vehicles, line 5
                                                                                                         500
                                                                                                 $


57. Part 3: Total personal and household items, line 15
                                                                                                          1050
                                                                                                 $


58. Part 4: Total financial assets, line 36
                                                                                                          100
                                                                                                 $


59. Part 5: Total business-related property, line 45


60. Part 6: Total farm- and fishing-related property, line 52


61. Part 7: Total other property not listed, line 54                                      + $0
                                                                                                     -------




62. Total personal property. Add lines 56 through 61 ....................
                                                                                                   1650                                                                                                                                                            1650
                                                                            .                    $__ _ _                 _____                                          Co py personal property total -+                                                        +$__ _        _____




63. Total of all property on Schedule AlB. Add line 55 + line 62
                                                                                                                                                                                                                                                                       1650
                                                                      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       $




Official Form 106NB                                              Schedule AlB: Property                                                                                                                                                                                       page 10
             Case 2:19-bk-55093                  Doc 1            Filed 08/07/19 Entered 08/07/19 14:31:51                                  Desc Main
                                                                 Document      Page 33 of 64
  Fill in this information to identify your case:


  Debtor     1          Kontarh                Tutu                         Kpogba
                        First Name             Middle Name                    Last Name


  Debtor2
  (Spouse, if filing)   First Name             Middle Name                    Last Name


  United States Bankruptcy Court for the:   SOUTHER          District of   OHIO

  Case number                                                                                                                                     0   Check if this is an
  (If known)
                                                                                                                                                      amended filing




Official Form 1 06C

Schedule C: The Property You Claim as Exempt                                                                                                                    04/19


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AlB: Property (Official Form 1 06NB) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.



                  Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       0 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2.   For any property you list on Schedule AlB that you claim as exempt, fill in the information below.



        Brief description of the property and line on           Current value of the      Amount of the exemption you claim           Specific laws that allow exemption
        Schedule AlB that lists this property                   portion you own

                                                                Copy the value from       Check only one box for each exemption.
                                                                Schedule AlB

                              Car                                                                                                    2329.66(a)(12 )(d);
       Brief
      description:                                              $500                      D$      _____




       Line from                                                                          liZI   1 00% of fair market value, up to

       Schedule AlB:                                                                             any applicable statutory limit

                              Earring, And Neckless
      Brief                                                                                                                          2329.66(a)(l2)(d):
      description:                                              $50                       0$       ____




       Line from
                                                                                          � 100% of fair market value, up to
       Schedule AlB:                                                                             any applicable statutory limit

                              Furnishings
      Brief                                                                                                                                6(a)(1 )(d);
                                                                                                                                     2329.62
      description:                                              $ 1000                    0$      ____




      Line from
                                                                                          I;ZI   100% of fair market value, up to

      Schedule AlB:                                                                              any applicable statutory limit



 3.   Are you claiming a homestead exemption of more than $170,350?

      (Subject to adjustment on 4101/22 and every 3 years after that for cases filed on or after the date of adjustment.)

      I;ZI   No

      0 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
             0     No

             0     Yes




Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                page 1 of_
           Case 2:19-bk-55093                     Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                              Desc Main
                                                                 Document      Page 34 of 64
Debtor 1         Kontarh Tutu                        Kpogba                                              Case number (if known)•
                                                                                                                               ___ _____ ______ _


                 First Name       M1dd\e Name            Last Name




              Additional Page


       Brief description of the property and line                Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
       on Schedule      AlB   that lists this property           portion you own

                                                                 Copy the value from    Check only one box for each exemption
                                                                 Schedule AlB

      Brief
     description:                                                $.   ______            0$    ___
                                                                                                 _




      Line from
                                                                                        0 100% of fair market value,       up to

     Schedule AlB:                                                                          any applicable statutory limit

      Brief
     description:                                                $.   ______            0$    ___ _




      Line from
                                                                                        0 100% of fair market value,       up to

     Schedule AlB:                                                                          any applicable statutory limit



      Brief
     description:                                                $.   ______            0$    ____




      Line from
                                                                                        0 100%     of fair market value, up to

     Schedule AlB:                                                                          any applicable statutory limit


     Brief
     description:                                                $.   ______            0$    ___ _




     Line from                                                                          0 100%     of fair market value, up to

     Schedule AlB:                                                                          any applicable statutory limit


     Brief
     description:                                                $.   ______            0$    __ _ _




     Line from                                                                          0 100% of fair market value,       up to

     Schedule AlB:                                                                          any applicable statutory limit



     Brief
     description:                                                $.   ______            0$    ___
                                                                                                 _




     Line from                                                                          0 100% of fair    market value, up to

     Schedule AlB:                                                                          any applicable statutory limit


     Brief
     description:                                                $.   ______
                                                                                        0$    ____




     Line from                                                                          0 100%     of fair market value, up to
     Schedule AlB:                                                                          any applicable statutory limit

     Brief
     description:                                                $.  _ _____            0$    __ __




     Line from
                                                                                        0 100% of fair market value, up to
     Schedule AlB:                                                                          any applicable statutory limit



     Brief
     description:                                                $.  ______
                                                                                        0$    ___ _




     Line from                                                                          0 100% of fair market value,       up to
     Schedule AlB:                                                                          any applicable statutory limit


     Brief
     description:                                               $    ______             0$    ____




     Line from
                                                                                        0 100% of fair   market value, up to

     Schedule AlB:                                                                          any applicable statutory limit

     Brief
     description:                                               $.   ______             0$    ___
                                                                                                 _




     Line from
                                                                                        0   100% of fair market value, up to

     Schedule AlB:                                                                          any applicable statutory limit



     Brief
     description:                                               $.   ______             0$    ____




     Line from                                                                          0 100% of fair market value,       up to

     Schedule AlB:                                                                          any applicable statutory limit




Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                         page   _   of_
                Case 2:19-bk-55093                             Doc 1          Filed 08/07/19 Entered 08/07/19 14:31:51                                         Desc Main
                                                                             Document      Page 35 of 64

 Fill in this information to identify your case:


 Debtor     1
                        First Name                       M1ddle Name                      last Name

 Debtor     2
 (Spouse, if filing)    First Name                       M1ddle Name                      Last Name


 United States Bankruptcy Court for the:             _____             District of   _____




 Case number
 (If known)                                                                                                                                                       0   Check if this is an
                                                                                                                                                                      amended filing



Official Form 1060
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
   [IT No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   [0"" Yes. Fill in all of the information below.

1¥11             List All Secured Claims

                                                                                                                                   ColumnA                Column B                  ColumnC
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                            Amount of claim        Value of collateral       Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                                                  that supports this        portion
                                                                                                                                   Do not deduct the
    As much as possible, list the claims in alphabetical order according to the creditor's name.                                   value of collateral.   claim                     If any


                                                                  Describe the property that secures the claim:                    $                       $                    $
     Creditor's Name



     Number              Street

                                                                  As of the date you file, the claim is: Check all that apply.

                                                                  D      Contingent

                                                                  D      Unliquidated
     City                                   State   ZIP Code
                                                                  D      Disputed

  Who owes the debt? Check one.                                   Nature of lien. Check all that apply.

  D     Debtor    1    only                                       0      An agreement you made (such as mortgage or secured
  0     Debtor   2     only                                              car loan)

  0     Debtor    1    and Debtor    2   only                     0      Statutory lien (such as tax lien, mechanic's lien)

  D     At least one of the debtors and another                   D      Judgment lien from a lawsuit

                                                                  D      Other   (including   a right to offset)   _________


  D     Check if this claim relates to a
        community debt

  Date debt was incurred                                          Last    4 digits of account number               -   -.• -   _

                                                                                                                   ,
w                                                                 Describe the property that secures the claim:                    $   _
                                                                                                                                        _______
                                                                                                                                                _ _
                                                                                                                                                 _ _      $          ______     $
                                                                                                                                                                                _________



     Creditor's Name



     Number              Street

                                                                  As of the date you file, the claim is: Check all that apply.

                                                                  D      Contingent

                                                                  0      Unliquidated
    City                                    State   ZIP Code
                                                                  D      Disputed

  Who owes the debt? Check one.                                   Nature of lien. Check all that apply.

  D    Debtor    1     only                                       0      An agreement you made (such as mortgage or secured
  0     Debtor   2 only                                                  car loan)

  0     Debtor   1     and Debtor    2   only                     D      Statutory lien (such as tax lien, mechanic's lien)

  D    At least one of the debtors and another                    D      Judgment lien from a lawsuit

                                                                  D      Other (including a right to offset)       _________


  0    Check if this claim relates to a
       community debt

  Date debt was incurred                                          Last    4 digits of account number           ___             _




     Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                                                   [�======::J
Official Form 1060                                        Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of     _
                      Case 2:19-bk-55093                        Doc 1         Filed 08/07/19 Entered 08/07/19 14:31:51                                       Desc Main
                                                                             Document      Page 36 of 64
       Fill in this information to identify your case:


                               Kontarh                                                Kpogba
       Debtor         1                                        Tutu
                                   First Name                  Middle Name                Last Name


       Debtor2
       (Spouse, if filing)         First Name                  Middle Name                Last Name


                                                                   OHIO
       United States Bankruptcy Court for the: SOUTHER District of

                                                                                                                                                                  0   Check if this is an
       Case number
         (If known)                                                                                                                                                   amended filing



    Official Form 1 06E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15

    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
    AlB: Property (Official Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
    creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
    needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
    any additional pages, write your name and case number (if known).


                           List All of Your PRIORITY Unsecured Claims

    1.        Do any creditors have priority unsecured claims against you?

              Ef No. Go to Part 2.
              fGlf Yes.
    2.        List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
              each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
              non priority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
              unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
              (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                               Total claim     Priority        Non priority
                                                                                                                                                               amount          amount


                Internal Revenue Services                                      Last 4 digits of account number      ___             _         $�8�oo�oL_
                                                                                                                                                       ____   $�88o�o�o
                                                                                                                                                                      ____    $�O�-----
               Priority Creditor's Name

                Po Box         802501                                          When was the debt incurred?           2018
               Number                Street


                                                                              As of the date you fi le , the claim is: Check all that apply
                Cincinnati OH                 45280-2501
               City                                    State   ZIP Code
                                                                               D     Contingent

                                                                               D Unliquidated
               Who incurred the debt? Check one.
                                                                               D     Disputed
               �      Debtor   1    only

               D Debtor2 only                                                  Type of PRIORITY unsecured claim:
               D Debtor        1    and Debtor2 only
                                                                               D Domestic support obligations
               D      At least one of the debtors and another
                                                                               r;a   Taxes and certain other debts you owe the government
               D Check if this claim is for a community debt
                                                                               D Claims for death or personal injury while you were
                                                                                     intoxicated
               Is the claim subject to offset?
               li2f   No                                                       D Other. Specify _T_a x.c.
                                                                                                      _ e'-
                                                                                                         s -----------
               DYes

!
2 .2
          I    Ohio Department Of Taxation                                    Last 4 digits of account number       ____J22!_   _ _
                                                                                                                                                172�--- - $ 172
                                                                                                                                              $·�                     0
                                                                                                                                                              �--- $ -�----
               Priority Creditor's Name

               Po Box       89471
                                                                              When was the debt incurred?           2018
               Number                Street
                                                                              As of the date you file, the claim is: Check all that apply

               Cleveland OH                44101-6471                         D Contingent
               City                                    State   ZIP Code       D Unliquidated

               Who incurred the debt? Check one.                              D      Disputed

               l;zl   Debtor   1   only
                                                                              Type of PRIORITY unsecured claim:
               D Debtor2 only
                                                                              D Domestic support obligations
               D Debtor        1   and Debtor2 only

               D At least one of the debtors and another
                                                                              l;zl   Taxes and certain other debts you owe the government

                                                                              D Claims for death or personal injury while you were
               D Check if this claim is for a community debt
                                                                                     intoxicated

               Is the claim subject to offset?                                D Other. Specify        T _ x _se __________
                                                                                                        a
                                                                                                      _ _                              _



               �      No

               DYes



    Official Form 106E/F                                               Schedule ElF: Creditors Who Have Unsecured Claims                                                  page 1 of_
             Case 2:19-bk-55093                   Doc 1         Filed 08/07/19 Entered 08/07/19 14:31:51                                          Desc Main
 Debtor 1         Kontarh Tutu                       Kpogba    Document      Page 37 of 64
                                                                                        Case number                        (it known)_______________ __
                  First Name      Middle Name          Last Name


                 Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                Total claim        Priority       Nonpriority
                                                                                                                                                           amount         amount



D                                                                  Last   4 digits of account number   ___               _          $   ____          $    ___        $   ____


       Priority Creditor's Name

                                                                   When was the debt incurred?
       Number          Street

                                                                   As of the date you file, the claim is:   Check all that apply.

                                                                   D Contingent
       City                             State    ZIP Code          D Unliquidated
                                                                   D Disputed
      Who incurred the debt?        Check one.
       D Debtor 1 only                                             Type of PRIORITY unsecured claim:
       D Debtor 2 only
                                                                   D Domestic support obligations
       0 Debtor 1 and Debtor 2 only
                                                                   D Taxes and certain other debts you owe the government
       D At least one of the debtors and another
                                                                   D Claims for death or personal injury while you were
       D Check if this claim is for a community debt                 intoxicated
                                                                   D Other. Specify ------
       Is the claim subject to offset?

       D No
       0 Yes

D                                                                  Last   4 digits of account number   _           __               $   _____         $.  __
                                                                                                                                                            __        $   ____


      Priority Creditor's Name
                                                                                                              _




                                                                   When was the debt incurred?
       Number          Street

                                                                   As of the date you file, the claim is:   Check all that apply.

                                                                   D Contingent
      City                              State    ZIP Code          D Unliquidated
                                                                   D Disputed
      Who incurred the debt?       Check one.
       D Debtor 1 only                                             Type of PRIORITY unsecured claim:
      0 Debtor 2 only
                                                                   D Domestic support obligations
      D Debtor 1 and Debtor 2 only
                                                                   D Taxes and certain other debts you owe the government
      D At least one of the debtors and another
                                                                   D Claims for death or personal injury while you were
      D Check if this claim       is for a community debt
                                                                     intoxicated
                                                                   D Other. Specify  ------




      Is the claim subject to offset?

      0 No
      0 Yes

D                                                                  Last   4 digits of account number         __ _                   $   _____         $_____          $
                                                                                                                                                                      __
                                                                                                                                                                        _
                                                                                                                                                                          __


      Priority Creditor's Name
                                                                                                       _




                                                                   When was the debt incurred?
      Number          Street

                                                                   As of the date you file, the claim is:   Check all that apply.

                                                                   D Contingent
      City                              State    ZIP Code          D Unliquidated
                                                                   D Disputed
      Who incurred the debt?       Check one.
      D Debtor 1 only                                              Type of PRIORITY unsecured claim:
      D Debtor 2 only
                                                                   D Domestic support obligations
      D Debtor 1 and Debtor 2 only
                                                                   D Taxes and certain other debts you owe the government
      D At least one of the debtors and another
                                                                   D Claims for death or personal injury while you were
      D Check if      this claim is for a community debt
                                                                     intoxicated
                                                                   D Other. Specify  ____________ __




      Is the claim subject to offset?

      D No
      DYes


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             page_of      _
             Case 2:19-bk-55093                       Doc 1   Filed 08/07/19 Entered 08/07/19 14:31:51                                                Desc Main
                    Kontarh Tutu                       Kpogba
                                                             Document      Page 38 of 64
                                                                                      Case number
 Debtor 1                                                                                                                  (if known),___________ _____
                    First Name       Middle Name         Last Name



                 List All of Your NONPRIORITY Unsecured Claims

 3. )lo any creditors have nonpriority unsecured claims against you?
    In      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    11Zfves


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim

E2J      Ace Cash Express                                                         Last   4 digits of account number _15_
                                                                                                                       !!                __


                                                                                                                                                              $      1150
      Nonpriority Creditor's Name
       1231 Greenway Dr                                                           When was the debt incurred?                 2018
      Number             Street
       Irving TX         75038
       City                                           State          ZIP   Code   As of the date you file, the claim is:        Check all that apply.

                                                                                  D Contingent
      Who incurred the debt?             Check one.                               D Unliquidated
       � Debtor 1 only                                                            D Disputed
       D Debtor 2 only
       D Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
       D At least one of the debtors and another                                  D Student loans
       D      Check if this claim is for a community debt
                                                                                  D Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?                                            D Debts to pension or profit-sharing plans, and other similar debts
      {I No                                                                       J.;a Other. Specify �L=oa"'n,_          __ __________



       D Yes


       Buckeye Credit Solutions
                                                                                  Last   4 digits of account number         ___!4�        __                  $-5=7�6'-----
      Nonpriority Creditor's Name                                                 When was the debt incurred?               ----!2,_,0,_,1,_,8'----
       6785 Bobcat Way Suite 200
       Number            Street
                                                                                  As of the date you file, the claim is:        Check all that apply.
       Dublin OH          43016-1443
      City                                            State          ZIP   Code
                                                                                  D Contingent
      Who incurred the debt?             Check one.                               D Unliquidated
       �      Debtor 1 only                                                       D Disputed
       D Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
       D Debtor 1 and Debtor 2 only
       D At least one of the debtors and another                                  D Student loans
                                                                                  D Obligations arising out of a separation agreement or divorce
      D Check if this claim is for a community debt                                    that you did not report as priority claims
      Is the claim subject to offset?                                             D Debts to pension or profit-sharing plans, and other similar debts
      �No                                                                         !;;a Other. Specify _C=olo=.le�c'-"t""'io:..::n=----
      D Yes

�     �C_as
          _ �h _Fact�ory U7.- sa
                  � �� Name
                �Creditor's
      Nonpriority
                                  _______________ ___
                                                                                  Last   4 digits of account number         _&.7�         __

                                                                                                                                                              $._."'-'10"--'7'-"'3
                                                                                                                                                                                 ___



                                                                                  When was the debt incurred?                  2018
       2233      Ohio Lie, D ba
      Number             Street
       Las Vegas NV              89117                                            As of the date you file, the claim is:        Check all that apply.
      City                                            State          ZIP   Code
                                                                                  D Contingent
      Who incurred the debt?             Check one.
                                                                                  D Unliquidated
      (J      Debtor 1 only
                                                                                  D Disputed
      D Debtor 2 only
      D Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      D At least one of the debtors and another
                                                                                  D Student loans
      D       Check if this claim is for a community debt                         D Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
      Is the claim subject to offset?
                                                                                  D Debts to pension or profit-sharing plans, and other similar debts
      �No
                                                                                                       "'o"'
                                                                                  � Other. Specify _,L"'"a     n
                                                                                                               ,_.,____                                   _
      D Yes
                                                                                                                      _________ ___




Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                 page_ of_
              Case 2:19-bk-55093                          Doc 1       Filed 08/07/19 Entered 08/07/19 14:31:51                                                     Desc Main
 Debtor   1          Kontarh Tutu                           Kpogba   Document      Page 39 of 64
                                                                                               Case number _                         (it known),       _____ __________
                                                                                                                                                                                          _
                     First Name             Middle Name       Last Name



                    Your NONPRIORITY Unsecured Claims- Continuation Page



  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                           Total claim




0         Cast Net Usa
                                                                                        Last 4 digits of account number                       _117L               __




       Nonpriority Creditor's Name
                                                                                        When was the debt incurred?                           -=2::.0.; 1
                                                                                                                                                        '-" 8
                                                                                                                                                            '-"
       175 W. Jackson Blvd Suite 1000
                                                                                                                                                              _ __




       Number               Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Chicago IL            60604
      City                                                 State          ZIP   Code    0      Contingent

                                                                                        0      Unliquidated
      Who incurred the debt? Check one.
                                                                                        0      Disputed
      D       Debtor   1   only

       0      Debtor   2   only                                                         Type of NONPRIORITY unsecured claim:
       0      Debtor   1   and Debtor   2 only
                                                                                        0      Student loans
       0      At least one of the debtors and another
                                                                                        0      Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
       0      Check if this claim is for a community debt
                                                                                        0      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   �      Other. Specify_,
                                                                                                              L,_,o"'a""n,__    __________




       tJ     No

       0      Yes




Q      Central Ohio Primary Care/rbc
                                                                                        Last 4 digits of account number                      �*.:__               __           $    109
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?
                                                                                                                                                   2018
       Rbc      283 Blessner Ave
      Number                Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Mansfield OH               44903-2224
      City                                                 State          ZIP   Code    0      Contingent

                                                                                        0      Unliquidated
      Who incurred the debt? Check one.
                                                                                        0      Disputed
      CJ      Debtor   1   only

       0      Debtor   2   only                                                         Type of NONPRIORITY unsecured claim:
       0      Debtor   1   and Debtor   2    only
                                                                                        0      Student loans
       0      At least one of the debtors and another
                                                                                        0      Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
       0      Check if this claim is for a community debt
                                                                                        0      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                          Other. Specity_..,
                                                                                        �                     M""e d
                                                                                                                  "'"'i""a l,__
                                                                                                                       c""            _______ _




      tJ      No

      0       Yes



�                                                                                       Last 4 digits of account number                      _1!!::._
                                                                                                                                                                               $    122
       Central Ohio Primary Care/rbc
                                                                                                                                                                  __




      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?                           ___,2,0co1"'5'----
       Rbc      283    Blessner Ave
      Number                Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       Mansfield OH               44903-2224
      City                                                 State          ZIP   Code    0      Contingent

                                                                                        0      Unliquidated
      Who incurred the debt? Check one.
                                                                                        0      Disputed

      6       Debtor   1   only

      0       Debtor   2   only                                                        Type of NONPRIORITY unsecured claim:
      0       Debtor   1   and Debtor   2   only
                                                                                        0      Student loans
      0       At least one of the debtors and another
                                                                                        0      Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
      0       Check if this claim is for a community debt
                                                                                        0      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                          Other. Specity M_e::..;d
                                                                                        l;il                      _ ::..:ic.::_
                                                                                                                          :ca'-'-1
                                                                                                                                 _________




      tJ      No

      0       Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                               pag e _ of _
             Case 2:19-bk-55093                 Doc 1       Filed 08/07/19 Entered 08/07/19 14:31:51                  Desc Main
Debtor   1
                 Kontarh Tutu                     Kpogba   Document      Page 40 of 64
                                                                                     Case number           (if known).____________ ___
                First Name     Middle Name         Last Name



               Add the Amounts for Each Type of Unsecured Claim



 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim



                 6a. Domestic support obligations                                6a.
Total claims                                                                            $    0
from Part 1
                 6b. Taxes and certain other debts you owe the
                       government                                                6b.         8172
                                                                                        $

                 6c. Claims for death or personal injury while you were
                       intoxicated                                               6c.
                                                                                        $    0

                 6d. Other. Add all other priority unsecured claims.
                       Write that amount here.                                   6d.
                                                                                       +$    0




                 6e. Total. Add lines 6a through 6d.                             6e.
                                                                                             8172
                                                                                        $



                                                                                        Total claim


                 6f. Student loans                                               6f.
Total claims                                                                            $    137723
from Part 2
                 6g. Obligations arising out of a separation agreement
                      or divorce that you did not report as priority
                      claims                                                     6g.     $   0

                 6h. Debts to pension or profit-sharing plans, and other
                       similar debts                                             6h.             0
                                                                                        $

                 6i. Other. Add all other nonpriority unsecured claims.
                      Write that amount here.                                    6i.   +$    18027



                 6j. Total. Add lines 6f through 6i.                             6j.
                                                                                        $    155750




Official Form 1 06E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                               page_ of   _
               Case 2:19-bk-55093                          Doc 1        Filed 08/07/19 Entered 08/07/19 14:31:51                                       Desc Main
  Debtor   1            Kontarh Tutu                         Kpogba    Document      Page 41 of 64
                                                                                                 Case number                     (if known)·------- ------
                      First Name             Middle Name       Last Name




                     Your NONPRIORITY Unsecured Claims- Continuation Page



  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                Total claim




0        Cep America Ohio Lie
                                                                                        Last      4 digits of account number         M8Q__       __
                                                                                                                                                                    $   195
        Nonpriority Creditor's Name
                                                                                        When was the debt incurred?                     2018
         Po Box         582663
        Number               Street
                                                                                        As of the date you file, the claim is: Check all that apply.
           Modesto CA              95350
        City                                                State          ZIP   Code   0       Contingent

                                                                                        0       Unliquidated
        Who incurred the debt? Check one.
                                                                                        0       Disputed
        tJ     Debtor   1   only

        0      Debtor   2   only                                                        Type of NONPRIORITY unsecured claim:
        0      Debtor   1   and Debtor     2   only
                                                                                        0       Student loans
        0      At least one of the debtors and another
                                                                                        0       Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
        0      Check if this claim is for a community debt
                                                                                        0       Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                 1;1:1   Other. Specify�        =
                                                                                                                    lle"'
                                                                                                              C'""o""       .,
                                                                                                                             n________
                                                                                                                         tio""
                                                                                                                        c""'

        eJ     No

        0      Yes




�        Cep America Ohio Lie
                                                                                        Last     4 digits of account number ___ _                                   $    212
        Nonpriority Creditor's Name
                                                                                        When was the debt incurred?
                                                                                                                                      2017
        Po Box        582663
        Number               Street
                                                                                        As of the date you file, the claim is: Check all that apply.
         Modesto CA             95358-0070
        City                                               State           ZIP   Code   0       Contingent

                                                                                        0       Unliquidated
        Who incurred the debt? Check one.
                                                                                        0       Disputed
        tJ     Debtor   1   only

        0      Debtor   2   only                                                        Type of NONPRIORITY unsecured claim:
        0      Debtor   1   and Debtor     2   only
                                                                                        0       Student loans
        0      At least one of the debtors and another
                                                                                        0       Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
        0      Check if this claim is for a community debt
                                                                                        0       Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                 1;1:1   Other. Specify_C
                                                                                                               "" "-" ll"'
                                                                                                                 o"'      ct""
                                                                                                                        e""   ..__
                                                                                                                              on
                                                                                                                             i"'   _______


        eJ     No

        DYes



r;:;J                                                                                   Last     4 digits of account number          �-!!___     __
                                                                                                                                                                    $625
        Check Into Cash
        Nonpriority Creditor's Name
                                                                                        When was the debt incurred?                  -=2,_,0"'1'""8'----
        201 Keith Street Suite 80
        Number               Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        Cleveland TN               37311
        City                                               State           ZIP   Code   0       Contingent

                                                                                        0       Unliquidated
        Who incurred the debt? Check one.
                                                                                        0       Disputed
        tJ     Debtor   1   only

        0      Debtor   2   only                                                        Type of NONPRIORITY unsecured claim:
        0      Debtor   1   and Debtor   2     only
                                                                                        0       Student loans
        0      At least one of the debtors and another
                                                                                        0       Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
        0      Check if this claim is for a community debt
                                                                                        0       Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                 �                     Loan
                                                                                                Other. Specify---- --


        0      No

        0      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    page � of___!.!.
              Case 2:19-bk-55093                        Doc 1    Filed 08/07/19 Entered 08/07/19 14:31:51                                      Desc Main
 Debtor   1          Kontarh Tutu                        Kpogba
                                                                Document      Page 42 of 64
                                                                                         Case number                              {lfknown) _________________
                     First Name       Middle Name          Last Name




                    Your NONPRIORITY Unsecured Claims - Continuation Page



 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total claim



    1
,4.10
        City Of Philadelphia
                                                                                     Last 4 digits of account number _&!3:L_                  __

                                                                                                                                                                $ 346
        Nonpriority Creditor's Name
                                                                                     When was the debt incurred?                       2010
         Parking Violations Po Box41818
        Number     Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         Philadelphia PA 19101
        City                                            State          ZIP   Code    0      Contingent

                                                                                     0      Unliquidated
        Who incurred the debt? Check one.
                                                                                     0      Disputed

        iJ    Debtor   1 only
        0     Debtor   2 only                                                        Type of NONPRIORITY unsecured claim:
        0     Debtor   1 and Debtor 2 only
                                                                                     0      Student loans
        0     At least one of the debtors and another
                                                                                     0      Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
        0     Check if this claim is for a community debt
                                                                                     0      Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              !;a    Other. Specify        Parking Ticket
        tJ    No

        0     Yes




                                                                                     Last 4 digits of account number                   ____                     $ 860
        Edc Monarch
        Nonpriority Creditor's Name
                                                                                                                                       2018
                                                                                     When was the debt incurred?
        Po Box26
        Number   Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Allen TX 75013
        City                                            State          ZIP   Code    0      Contingent

                                                                                     0      Unliquidated
        Who incurred the debt? Check one.
                                                                                     0      Disputed
        tJ    Debtor   1 only
        0     Debtor   2 only                                                        Type of NONPRIORITY unsecured claim:
        0     Debtor   1 and Debtor 2 only
                                                                                     0      Student loans
        0     At least one of the debtors and another
                                                                                     0      Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
        0     Check if this claim is for a community debt
                                                                                     0      Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              �      Other. Specity_C""""o"'ll"'e""ct""io"'n"----

        tJ    No
        DYes



                                                                                                                                                                $435
                                                                                     Last 4 digits of account number                   ___ _

        Ere Charter Communications
        Nonpriority Creditor's Name
                                                                                    When was the debt incurred?                        2018
        Po Box57547
        Number   Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        Jacksonville FL 32241
        City                                            State          ZIP   Code    0      Contingent

                                                                                     0      Unliquidated
        Who incurred the debt? Check one.
                                                                                     0      Disputed
        6     Debtor   1 only
        0     Debtor   2 only                                                       Type of NONPRIORITY unsecured claim:
        0     Debtor   1 and Debtor 2 only
                                                                                     0      Student loans
        0     At least one of the debtors and another
                                                                                     0      Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
        0     Check if this claim is for a community debt
                                                                                     0      Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                                    C    l lc.c     b'
                                                                                     liZI   Other. Specity_ _:o:..: : e'-'c_::..: n:
                                                                                                                              o:..:
                                                                                                                                  ________




        iJ
                                                                                                                                          _



              No

        0     Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   page?_ of�
               Case 2:19-bk-55093                        Doc 1        Filed 08/07/19 Entered 08/07/19 14:31:51                                       Desc Main
 Debtor    1          Kontarh Tutu
                      First Name        Middle Name
                                                           Kpogba    Document
                                                             Last Name
                                                                                   Page 43 of 64
                                                                                              Case number                                _ __ _ _ _ _
                                                                                                                               (lfknown),_   _       _       _   _   _    ___




                     Your NONPRIORITY Unsecured Claims - Continuation Page



  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                 Total claim



,4.131   First Credit Inc.
                                                                                       Last 4 digits of account number               �8!__       __

                                                                                                                                                                     $ 267
         Nonpriority Creditor's Name
                                                                                       When was the debt incurred?                     2017
         Po Box         89458
         Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Cleveland OH              44101-6458
         City                                             State          ZIP   Code    0   Contingent

                                                                                       0   Unliquidated
         Who incurred the debt? Check one.
                                                                                       0   Disputed
         iJ    Debtor   1 only
         0     Debtor   2 only                                                         Type of NONPRIORITY unsecured claim:
         0     Debtor   1 and Debtor 2 only
                                                                                       0   Student loans
         0     At least one of the debtors and another
                                                                                       0   Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
         0     Check if this claim is for a community debt
                                                                                       0   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                               �                      -"-' ,_,e , .__
                                                                                                           "" di"'
                                                                                           Other. S pecity M      al
                                                                                                                 c""               _______            _
         tJ    No

         0     Yes




         Franklin University
                                                                                       Last 4 digits of account number               ___ _                           $ 1227
         Nonpriority Creditor's Name
                                                                                                                                     2018
                                                                                       When was the debt incurred?
         201 S. Grant Ave
         Number    Street
                                                                                       As of the date you file, the claim is: Check all that apply.
         Columbus OH               43215
         City                                            State           ZIP   Code    0   Contingent

                                                                                       0   Unliquidated
         Who incurred the debt? Check one.
                                                                                       0   Disputed
         6     Debtor   1 only
         0     Debtor   2 only                                                         Type of NONPRIORITY unsecured claim:
         0     Debtor   1 and Debtor 2 only
                                                                                       0   Student loans
         0     At least one of the debtors and another
                                                                                       0   Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
         0     Check if this claim is for a community debt
                                                                                       0   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?

         tJ    No
                                                                                       �   Other. Specify___.,L,o..a"'., ._
                                                                                                                         n _   _________                 _




         0     Yes



                                                                                                                                                                     $11045
                                                                                       Last 4 digits of account number               ___             _

         Glelsi
         Nonpriority Creditor's Name
                                                                                      When was the debt incurred?                      2017
         Po Box       7860
         Number            Street
                                                                                      As of the date you file, the claim is: Check all that apply.
         Madison WI           53707-7860
         City                                            State           ZIP   Code    0   Contingent

                                                                                       0   Unliquidated
         Who incurred the debt? Check one.
                                                                                       0   Disputed
         tJ    Debtor   1 only
         0     Debtor   2 only                                                        Jype of NONPRIORITY unsecured claim:
         0     Debtor   1 and Debtor 2 only
                                                                                      6    Student loans
         0     At least one of the debtors and another
                                                                                       0   Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
         0     Check if this claim is for a community debt
                                                                                       0   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                               0   Other. Specity_L_o_a_n       _      _   ____      _ _ _   __




         6     No

         0     Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page � of _!i.
              Case 2:19-bk-55093                        Doc 1        Filed 08/07/19 Entered 08/07/19 14:31:51                                       Desc Main
  Debtor 1           Kontarh Tutu                         Kpogba    Document      Page 44 of 64
                                                                                              Case number                          (1fknown)____ ___________ __
                     First Name      Middle Name            Last Name




                    Your NONPRIORITY Unsecured Claims- Continuation Page



  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total claim




1 1
4.16
        Glelsi
                                                                                      Last 4 digits of account number                   ____

                                                                                                                                                                 $ 57820
       Nonpriority Creditor's Name
                                                                                      When was the debt incurred?                        1999
        Po Box 7860
       Number             Street
                                                                                      As of the date you file, the claim is: Check all that apply.
         Madison WI 53707-7860
       City                                              State          ZIP Code      D      Contingent
                                                                                      D      Unliquidated
       Who incurred the debt? Check one.
                                                                                      D      Disputed
       tJ     Debtor 1 only
       D      Debtor 2 only                                                           Type of NON PRIORITY unsecured claim:
       D      Debtor 1 and Debtor 2 only
                                                                                      ltJ    Student loans
       D      At least one of the debtors and another
                                                                                      D      Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                      D      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                D      Other. Specify.�L,o"'a..,_
                                                                                                                     n ,___    __________




       tJ     No
       D      Yes




        Immediate Health Associates
                                                                                      Last 4 digits of account number                   �':...._   __
                                                                                                                                                                 $ 163
       Nonpriority Creditor's Name
                                                                                                                                        2017
                                                                                      When was the debt incurred?
        Choice Recovery Inc 1550 Old Henderson Road
       Number             Street
                                                                                      As of the date you file, the claim is: Check all that apply.
        Columbus OH 43220-3626
       City                                             State           ZIP Code      D      Contingent
                                                                                      D      Unliquidated
       Who incurred the debt? Check one.
                                                                                      D      Disputed
       CJ Debtor 1 only
       D Debtor 2 only                                                                Type of NON PRIORITY unsecured claim:
       D Debtor 1 and Debtor 2 only                                                   D      Student loans
       D At least one of the debtors and another                                      D      Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                      D      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                �      Other. Specify_._M
                                                                                                              , ""e
                                                                                                                  "'d
                                                                                                                    ,.,i_c
                                                                                                                         , a,.,l .___
                                                                                                                                    _ _ _ _ ____




       tJ     No
       0      Yes




                                                                                                                                                                 $330
         Mount Carmel Health
                                                                                      Last 4 digits of account number                   _2!13_!_   __




       Nonpriority Creditor's Name
                                                                                      When was the debt incurred?                        2018
       Po Box 89458
       Number             Street
                                                                                      As of the date you file, the claim is: Check all that apply.
       Cleveland OH 44101-6458
       City                                             State           ZIP Code      D      Contingent
                                                                                      D      Unliquidated
       Who incurred the debt? Check one.
                                                                                      D      Disputed
       6      Debtor 1 only
       D      Debtor 2 only                                                          Type of NON PRIORITY unsecured claim:
       0      Debtor 1 and Debtor 2 only
                                                                                      D      Student loans
       0      At least one of the debtors and another
                                                                                      D      Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                      D      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                       Other. Specity_M_ e_d
                                                                                      liZI                       _i_ca_ l _
       tJ
                                                                                                                                 ________
                                                                                                                                         _



              No
       D      Yes




Official Form 1 06E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   page�of   �
              Case 2:19-bk-55093                       Doc 1        Filed 08/07/19 Entered 08/07/19 14:31:51                                Desc Main
 Debtor   1          Kontarh Tutu                        Kpogba    Document      Page 45 of 64
                                                                                             Case number               (it known) ________________
                     First Name          M1dd\e Name       Last Name




                    Your NONPRIORITY Unsecured Claims- Continuation Page



  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       Total claim




1 1
4 19
 .
       National Credit Adjusters/
                                                                                     Last 4 digits of account number �2L __
                                                                                                                                                              $ 401
       Nonpriority Creditor's Name
                                                                                     When was the debt incurred?              2018
       Po Box 3023-327 W. 4th Ave
       Number    Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Hutchinson, KS 67504-3023
       City                                             State          ZIP   Code    0    Contingent

                                                                                     0    Unliquidated
       Who incurred the debt? Check one.
                                                                                     0    Disputed
       !J     Debtor   1   only

       0      Debtor   2   only                                                      Type   of NONPRIORITY unsecured claim:
       0      Debtor   1   and Debtor   2   only
                                                                                     0    Student loans
       0      At least one of the debtors and another
                                                                                     0    Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       0      Check if this claim is for a community debt
                                                                                     0    Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                               �    Other. Specify_.,L"'o,_.a,..._
                                                                                                                      n  _
                                                                                                                        _____ _____


       tJ     No

       0      Yes




       Pennsylvania Turnpike Commissi
                                                                                     Last 4 digits of account number         ��         __                    $ 173
       Nonpriority Creditor's Name
                                                                                                                              2018
                                                                                     When was the debt incurred?
       Professioan Account Management Po Box 1153
       Number     Street
                                                                                     As of the date you file, the claim is: Check all that apply.
       Milwaukee. WI 53201-1153
       City                                             State          ZIP   Code    0    Contingent

                                                                                     0    Unliquidated
       Who incurred the debt? Check one.
                                                                                     0    Disputed
       0      Debtor   1   only

       0      Debtor   2   only                                                     Type    of NONPRIORITY unsecured claim:
       0      Debtor   1   and Debtor   2   only
                                                                                     0    Student loans
       0      At least one of the debtors and another
                                                                                     0    Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       0      Check if this claim is for a community debt
                                                                                     0
                                                                                                                 =
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                               �    Other. Specify_T
                                                                                                         � ic""k,et _ _ _____ __
       tJ     No
       0      Yes




                                                                                                                                                              $71
        Pennsylvania Turnpike Commissi
                                                                                     Last 4 digits of account number         __1!1�    __



       Nonpriority Creditor's Name
                                                                                    When was the debt incurred?                   03/2018
       Violation Proccessing Center 300 East Park Drive
       Number     Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Harrisburg PA 17111
       City                                             State          ZIP   Code    0    Contingent

                                                                                     0    Unliquidated
       Who incurred the debt? Check one.
                                                                                     0    Disputed
       tJ     Debtor   1   only

       0      Debtor   2   only                                                     Type    of NONPRIORITY unsecured claim:
       0      Debtor   1   and Debtor   2 only
                                                                                    0     Student loans
       0      At least one of the debtors and another
                                                                                    0     Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       0      Check if this claim is for a community debt
                                                                                    0     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              Ill   Other. Specify   Turnpike Ticket

       !J     No

       0      Yes




Official Form 1 06E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 10   of�
              Case 2:19-bk-55093                          Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                            Desc Main
 Debtor   1         Kontarh Tutu                           Kpogba        Document      Page 46 of 64
                                                                                                  Case number              (it known)_________________
                    First Name              Middle Name      Last Name




                   Your NONPRIORITY Unsecured Claims- Continuation Page



  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                      Total claim



, 1
4.22
        Pennsylvania Turnpike Commissi
                                                                                       Last 4 digits of account number �6L                   __

                                                                                                                                                             $ 72
       Nonpriority Creditor's Name
                                                                                       When was the debt incurred?                03/2018
       Violation Proccessing Center 300 East Park Drive
       Number               Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Harrisburg PA 17111
       City                                               State           ZIP Code     D Contingent

                                                                                       D Unliquidated
       Who incurred the debt? Check one.
                                                                                       D Disputed

       tJ     Debtor   1   only

       D Debtor        2   only                                                        Type of NONPRIORITY unsecured claim:
       D Debtor        1   and Debtor   2    only
                                                                                       D Student loans
       D At least one of the debtors and another
                                                                                       D Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
       D Check if this claim is for a community debt
                                                                                       D Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 !;a    Other. Specify Turnpike Ticket

       tJ     No

       DYes




                                                                                       Last 4 digits of account number          ____
                                                                                                                                                             $ 1560
       Professional Financial Service
       Nonpriority Creditor's Name
                                                                                                                                 2011
                                                                                       When was the debt incurred?
       Po Box 3146 Cust Relations & Cons Disp
       Number               Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        Spartanbury SC 29034-3146
       City                                               State          ZIP Code      D Contingent

                                                                                       D Unliquidated
       Who incurred the debt? Check one.
                                                                                       D Disputed
       U      Debtor   1   only

       D Debtor        2   only                                                        Type of NONPRIORITY unsecured claim:
       D Debtor        1   and Debtor 2 only
                                                                                       D Student loans
       D At least one of the debtors and another
                                                                                       D Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
       D Check if this claim is for a community debt
                                                                                       D Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 �      Other. Specify_L....,o"'a"'n'----

       tJ     No
       CJ     Yes



                                                                                                                                                             $201
                                                                                       Last 4 digits of account number
       Progressive
                                                                                                                                ___ _




       Nonpriority Creditor's Name
                                                                                       When was the debt incurred?                    2017
       Ccs Collections 725 Canton Street
       Number               Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       Norwood ME 02062-2679
       City                                               State          ZIP Code      D Contingent

                                                                                       D Unliquidated
       Who incurred the debt? Check one.
                                                                                       D Disputed
       0      Debtor   1   only

       D Debtor        2   only                                                        Type of NONPRIORITY unsecured claim:
       D Debtor        1   and Debtor   2   only
                                                                                       D Student loans
       D At least one of the debtors and another
                                                                                       D Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
       D Check if this claim is for a community debt
                                                                                       D Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 liZI                  -------
                                                                                              Other. Specify Insurance

       tJ     No

       DYes




Official Form 1 06E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              page !.!_ of _!!_
              Case 2:19-bk-55093                          Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                                   Desc Main
 Debtor   1            Kontarh Tutu                        Kpogba        Document      Page 47 of 64
                                                                                                  Case number                       (if known)_ ________ ________
                    First Name              Middle Name      Last Name




                   Your NONPRIORITY Unsecured Claims - Continuation Page



  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                           Total claim




1 1
4.25
        Progressive Insurance
                                                                                       Last 4 digits of account number _11_8L                       __

                                                                                                                                                                  $ 191
       Nonpriority Creditor's Name
                                                                                       When was the debt incurred?                         2018
          Caine & Weiner 12005 Ford Road
       Number               Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Dallas TX 75234
       City                                               State          ZIP   Code    D      Contingent

                                                                                       D      Unliquidated
       Who incurred the debt? Check one.
                                                                                       D      Disputed
       tJ     Debtor   1   only

       D      Debtor   2   only                                                        Type of NONPRIORITY unsecured claim:
       D      Debtor   1   and Debtor   2    only
                                                                                       D      Student loans
       D      At least one of the debtors and another
                                                                                       D      Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                       D      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 !;a    Other. Specify--"'ln�s,_,u,r,_,a""n"'c""e'----

       tJ     No

       DYes




        Progressive Leasing
                                                                                       Last 4 digits of account number                    ___!!)�   __            $ 611
       Nonpriority Creditor's Name
                                                                                                                                          2016
                                                                                       When was the debt incurred?
       256 Data Dr.
       Number               Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        Draper UT 84020
       City                                               State          ZIP   Code    D      Contingent

                                                                                       D      Unliquidated
       Who incurred the debt? Check one.
                                                                                       D      Disputed
       0      Debtor   1   only

       D      Debtor   2   only                                                        Type of NON PRIORITY unsecured claim:
       D      Debtor   1   and Debtor   2 only
                                                                                       D      Student loans
       D      At least one of the debtors and another
                                                                                       D      Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                       D      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 !;a    Other. Specify_C
                                                                                                             "" o""ll"'e""ct"'io"'n..__  _______




       tJ     No

       0      Yes



                                                                                                                                                                  $607
                                                                                       Last 4 digits of account number                    __.1!1�
       Rbc
                                                                                                                                                    __




       Nonpriority Creditor's Name
                                                                                      When was the debt incurred?                          2016
       283 Glessner Ave
       Number               Street
                                                                                      As of the date you file, the claim is: Check all that apply.
       Mansfield OH 44903-2224
       City                                               State          ZIP   Code    D      Contingent

                                                                                       D      Unliquidated
       Who incurred the debt? Check one.
                                                                                       D      Disputed
       0      Debtor   1   only

       D      Debtor   2   only                                                       Type of NONPRIORITY unsecured claim:
       D      Debtor   1   and Debtor   2   only
                                                                                       D      Student loans
       D      At least one of the debtors and another
                                                                                       D      Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                       D      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 iiZI                    -= o--'ll:..:
                                                                                              Other. Specity--=C              tic:.o_n
                                                                                                                              c:
                                                                                                                         e-=.cc      _
                                                                                                                                      ____ _ _




       tJ
                                                                                                                                                     _




              No

       DYes




Official Form 1 06E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   page !! of _!_±_
                   Case 2:19-bk-55093                       Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                              Desc Main
 Debtor 1                Kontarh Tutu                        Kpogba        Document      Page 48 of 64
                                                                                                    Case number         (if known)_________________
                         First Name        Middle Name         Last Name




                      Your NONPRIORITY Unsecured Claims- Continuation Page



  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                           Total claim




14.281       Receivable Management Services
                                                                                         Last   4 digits of account number    _1!!_4Q__   __
                                                                                                                                                               $   368
                                                                                                                               2018
            Nonpriority Creditor's Name
                                                                                         When was the debt incurred?
             Rms Po Box          361348
            Number            Street
                                                                                         As of the date you file, the claim is:   Check all that apply.
             Columbus OH               43236
            City                                            State          ZIP   Code    D Contingent
                                                                                         D Unliquidated
            Who incurred the debt?             Check one.                                D Disputed
            D      Debtor 1 only
            D Debtor 2 only                                                              Type   of NONPRIORITY unsecured claim:
            D Debtor 1 and Debtor 2 only                                                 D Student loans
            D At least one of the debtors and another                                    D Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            D      Check if this claim is for a community debt
                                                                                         D Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                              � Other. Specify_.,L..,o,.,a...,n,__
                                                                                                                     __________




            tlNo
            D Yes


14 29
  .     1   Us Dept Of Edn/glel
                                                                                         Last 4 digits of account number     ___ _
                                                                                                                                                               $    68858
            Nonpriority Creditor's Name                                                                                       1999
                                                                                         When was the debt incurred?
            Po Box       7860
            Number            Street
                                                                                         As of the date you file, the claim is:   Check all that apply.
            Madison WI           53707-7860
            City                                            State          ZIP   Code    D Contingent
                                                                                         D Unliquidated
            Who incurred the debt?             Check one.                                D Disputed
            tJ     Debtor 1 only
            D Debtor 2 only                                                              Type   of NONPRIORITY unsecured claim:
            D Debtor 1 and Debtor 2 only                                                tJ   Student loans
            D At least one of the debtors and another                                    D Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            D      Check if this claim is for a community debt
                                                                                         D Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                              D Other. Specify Student Loan
            tJNo
            0 Yes


14.301                                                                                  Last 4 digits of account number      ____
                                                                                                                                                               $5284
            Us Equities Corp
            Nonpriority Creditor's Name
                                                                                        When was the debt incurred?          ____,2""0_,_05"---
            Levy & Associates Lie              4645 Executive Dr.
            Number            Street
                                                                                        As of the date you file, the claim is:    Check all that apply.
            Columbus OH               43220
            City                                            State          ZIP   Code    D Contingent
                                                                                         D Unliquidated
            Who incurred the debt?             Check one.                                D Disputed
            0      Debtor 1 only
            D Debtor 2 only                                                             Type    of NONPRIORITY unsecured claim:
            D Debtor 1 and Debtor 2 only                                                 D Student loans
            D At least one of the debtors and another                                    D Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            D      Check if this claim is for a community debt
                                                                                         D Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                              Ill Other. Specity--=C-"o_ll-'-e-"-ct"'i-"-on"----
            tJNo
            D Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                              page 13      of�
                  Case 2:19-bk-55093                        Doc 1    Filed 08/07/19 Entered 08/07/19 14:31:51                                         Desc Main
  Debtor    1            Kontarh Tutu                        Kpogba Document      Page 49 of Case
                                                                                             64 number                                (if known),___ ______________
                         First Name        Middle Name         Last Name




                        Your NONPRIORITY Unsecured Claims - Continuation Page



  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                               Total claim




1 1
4.31
            Wakefield & Associates
                                                                                         Last 4 digits of account number                   592L      __

                                                                                                                                                                   $ 217
           Nonpriority Creditor's Name
                                                                                         When was the debt incurred?                        2016
            Po Box       59003
           Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
            Knoxville TN              37950-9003
           City                                             State          ZIP Code      D     Contingent

                                                                                         D     Unliquidated
           Who incurred the debt? Check one.
                                                                                         0     Disputed
           U      Debtor   1 only
           D      Debtor   2 only                                                        Type of NONPRIORITY unsecured claim:
           0      Debtor   1 and Debtor 2 only
                                                                                         D     Student loans
           D      At least one of the debtors and another
                                                                                         D     Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
           D      Check if this claim is for a community debt
                                                                                         D     Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                               !;a   Other. Specify_,C""o"'ll"' e""ct"' i"
                                                                                                                                   o..,_
                                                                                                                                     n ________




           tJ     No

           D      Yes




           Wow Internet Cable/phone
                                                                                         Last 4 digits of account number                   �::.___   __
                                                                                                                                                                   $ 250

           Nonpriority Creditor's Name
                                                                                                                                           2016
                                                                                         When was the debt incurred?
            Credit Management              4200 International Parkway
           Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
            Carrollton TX              75007
           City                                             State          ZIP Code      D     Contingent

                                                                                         D     Unliquidated
           Who incurred the debt? Check one.
                                                                                         0     Disputed
       0          Debtor   1 only
           D      Debtor   2 only                                                       Type of NONPRIORITY unsecured claim:
           D      Debtor   1 and Debtor 2 only
                                                                                         D     Student loans
           D      At least one of the debtors and another
                                                                                         D     Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
           D      Check if this claim is for a community debt
                                                                                         D     Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                               �     Other. Specify___,C"'a'-"b"'le"---

           tJ     No
           DYes



D                                                                                        Last 4 digits of account number                   ___ _
                                                                                                                                                                   $   ___ __




           Nonpriority Creditor's Name
                                                                                        When was the debt incurred?

           Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.

       City                                                 State          ZIP Code      D     Contingent

                                                                                         0     Unliquidated
       Who incurred the debt? Check one.
                                                                                         D     Disputed
           D      Debtor   1 only
           D      Debtor   2 only                                                       Type of NONPRIORITY unsecured claim:
           D      Debtor   1 and Debtor 2 only
                                                                                         D     Student loans
           D      At least one of the debtors and another
                                                                                         D     Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
           D      Check if this claim is for a community debt
                                                                                         D     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   D     Other. Specify     ___ ___ _____ _ _




           D      No

           D      Yes




nffiri"l   �nrm 10RF/�                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page14 of�
              Case 2:19-bk-55093                 Doc 1         Filed 08/07/19 Entered 08/07/19 14:31:51                            Desc Main
                                                              Document      Page 50 of 64
  Fill in this i nformation to identify your case:


  Debtor         Kontarh                 T u tu                 Kpogba
                       First Name             Middle Name           Last Name


  Debtor 2
  (Spouse If filing)   First Name             Middle Name           Last Name



  United States Bankruptcy Court for the:SOUTHE]l)istrict of OHIO

 Case number
  (If known)                                                                                                                            0   Check if this is an
                                                                                                                                            amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).



 1.   Do you have any executory contracts or unexpired leases?

      � No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      [[f Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AlB: Property (Official Form 106AIB).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
      example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
      unexpired leases.




      Person or company with whom you have the contract or lease                              State what the contract or lease is for



2.1

       Name


       Number             Street


       City                            State       ZIP Code

2.2

       Name


       Number            Street


       City                            State       ZIP Code

2.3

       Name


       Number            Street


      City                            State        ZIP Code

2.4

      Name


      Number             Street


      City                            State        ZIP Code

2.5

      Name


      Number             Street


      City                            State        ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of_
                Case 2:19-bk-55093                      Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                    Desc Main
                                                                       Document      Page 51 of 64
  Debtor   1       Kontarh Tutu                           Kpogba                                   Case number   (if known),_________________
                   First Name    Middle Name               Last Name




 -                Additional Page if You Have More Contracts or Leases


         Person or company with whom you have the contract or lease                             What the contract or lease is for


  2.6

         Name


         Number         Street


         City                                  State      ZIP Code


  2.7

         Name


         Number         Street


         City                                  State      ZIP Code


  2.8

         Name


         Number         Street


         City                                  State      ZIP Code


  2.9

         Name


         Number         Street


         City                                  State      ZIP Code


  2.10


         Name


         Number         Street


         City                                  State      ZIP Code


  2.11


         Name


         Number         Street


         City                                  State      ZIP Code


  2.12


         Name


         Number         Street


         City                                  State      ZIP Code


  2.13


         Name


         Number         Street


         City                                  State      ZIP Code




Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                              page   _ --
                                                                                                                                                 of
           Case 2:19-bk-55093                            Doc 1            Filed 08/07/19 Entered 08/07/19 14:31:51                          Desc Main
                                                                         Document      Page 52 of 64
  Fill in this information to identify your case:


  Debtor 1        Kontarh                          T utu                     Kpogba
                                                       Middle Name               Last Name

  Debtor 2
  (Spouse, if filing)   First Name                     M1ddle Name               Last Name


  United States Bankruptcy Court for thSOUTHER District of OHIO

  Case number
  (If known)
                                                                                                                                                   0   Check if this is an
                                                                                                                                                       amended filing


Official Form 1 06H
Schedule H: Your Codebtors                                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.


  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       �No

       0    Yes

  2. Within the last 8 years, have you lived in a community property state or territory?                  (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       0    No. Go to line 3.

       0    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

            0    No

            0     Yes. In which community state or territory did you live?         ------                · Fill in the name and current address of that person.




                   Name of your spouse, former spouse, or legal equivalent




                   Number             Street




                   City                                          State                       ZIP Code



 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      ScheduleD (Official Form 106D), Schedule ElF (Official Form 106EIF), or Schedule G (Official Form 106G). Use ScheduleD,
      Schedule ElF, or Schedule G to fill out Column 2.

        Column          1: Your codebtor                                                                        Column 2: The creditor to whom you owe the debt
                                                                                                                 Check all schedules that apply:


�         Name
                                                                                                                 0   Schedule D, line   ___




                                                                                                                 0   Schedule E/F, line   ___




          Number             Street
                                                                                                                 0   Schedule G, line   ___




          City                                                       State                    ZIP Code



�         Name
                                                                                                                 D   Schedule D, line   ___




                                                                                                                 0   Schedule E/F, line   ___




          Number             Street
                                                                                                                 D   Schedule G, line   ___




          City                                                       State                    ZIP Code



§]        Name
                                                                                                                 D   Schedule D, line   ___




                                                                                                                 0   Schedule E/F, line   ___




         Number              Street
                                                                                                                 D   Schedule G, line   ___




         City                                                        State                    ZIP Code




Official Form 1 06H                                                          Schedule H: Your Codebtors                                                 page 1 of_
                  Case 2:19-bk-55093             Doc 1          Filed 08/07/19 Entered 08/07/19 14:31:51                     Desc Main
                                                               Document      Page 53 of 64
  Debtor   1         Kontarh Tutu                 Kpogba                                      Case number   (if known)
                    First Name     Middle Name     Last Name




                    Additional Page to List More Codebtors


       Column 1: Your codebtor                                                                    Column 2: The creditor to whom you owe the debt


                                                                                                   Check all schedules that apply:

  [9                                                                                               0 Schedule D, line    ___

           Name
                                                                                                   0 Schedule E/F, line   ___




           Number         Street                                                                   0 Schedule G, line    ___




           City                                         State                    ZIP   Code


 EJ        Name
                                                                                                   0 Schedule D, line    ___




                                                                                                   0 Schedule E/F, line   ___




           Number         Street                                                                   0 Schedule G, line    ___




           City                                         State                    ZIP   Code


  �        Name
                                                                                                   0 Schedule D, line    ___




                                                                                                   0 Schedule E/F, line   ___




           Number         Street                                                                   0 Schedule G, line    ___




           City                                         State                    ZIP   Code



  EJ       Name
                                                                                                   0 Schedule D, line    ___




                                                                                                   0 Schedule E/F, line   ___




           Number         Street                                                                   0 Schedule G, line    ___




           City                                         State                    ZIP   Code

 Q                                                                                                 0 Schedule D, line
           Name
                                                                                                                         ___




                                                                                                   0 Schedule E/F, line

           Number         Street                                                                   0 Schedule G, line    ___




        City                                           State                     ZIP   Code

 Q                                                                                                 0 Schedule D, line    ___

        Name
                                                                                                   0 Schedule E/F, line   ___




        Number            Street                                                                   0 Schedule G, line    ___




        City                                           State                     ZIP   Code


 D      Name
                                                                                                   0 Schedule D, line    ___




                                                                                                   0 Schedule E/F, line   ___




        Number            Street                                                                   0 Schedule G, line    ___




        City                                           State                     ZIP   Code
 EJ
                                                                                                   0 Schedule D, line    ___

        Name
                                                                                                   0 Schedule E/F, line   ___




        Number           Street                                                                    0 Schedule G, line    ___




        City                                           State                     ZIP   Code




Official Form 1 06H                                              Schedule H: Your Codebtors                                          page   _   of   --
              Case 2:19-bk-55093              Doc 1       Filed 08/07/19 Entered 08/07/19 14:31:51                                   Desc Main
                                                         Document      Page 54 of 64

  Fill in this information to identify your case:


                        Kontarh           Tutu                Kpogba
  Debtor 1
                        First Name         Msdd!e Name            Last Name


  Debtor 2
  (Spouse, if filing)   First Name         Middle Name            Last Name


                                                              OHIO
  United States Bankruptcy Court for the: SOUTHER District of

  Case number                                                                                          Check if this is:
  (If known)
                                                                                                        0    An amended filing

                                                                                                        0    A supplement showing postpetition chapter 13
                                                                                                             income as of the following date:

Official Form 1061                                                                                           MM I DD! YYYY

Schedule 1: Your Income                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.



                        Describe Employment


 1. Fill in your employment
     information.                                                       Debtor 1                                         Debtor   2 or non-filing spouse
     If you have more than one job,
     attach a separate page with
     information about additional
                                         Employment status           � Employed                                          fEj   Employed
     employers.                                                      D Not employed                                      m     Not employed

     Include part-time, seasonal, or
     self-employed work.
                                                                     Human Services
                                        Occupation
     Occupation may include student
     or homemaker, if it applies.

                                        Employer's name              Community Properties of Ohio

                                                                   910 E. Broad Street Columbus, OH
                                        Employer's address         43205
                                                                     Number      Street                                Number     Street




                                                                     City                 State   ZIP Code             City                   State   ZIP Code

                                        How long employed there?            1 year



                    Give Details About Monthly Income


    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.


                                                                                                  For Debtor 1         For Debtor    2 or
                                                                                                                       non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                          2.
      deductions). If not paid monthly, calculate what the monthly wage would be.
                                                                                                  $2868                   $0

 3. Estimate and list monthly overtime pay.                                               3.   +$0                   + $0


 4. Calculate gross income. Add line 2 + line 3.                                          4.      $2868
                                                                                                                 I I      $0



Official Form 1061                                             Schedule 1: Your Income                                                                page 1
           Case 2:19-bk-55093                                                                       Doc 1                               Filed 08/07/19 Entered 08/07/19 14:31:51                                                                                                        Desc Main
                                                                                                                                       Document      Page 55 of 64
Debtor 1         Kontarh Tutu                                                                              Kpogba                                                                                                                               Case number (lfknown).   __ _____________

                 First Name                        Middle Name                                                  Last Name




                                                                                                                                                                                                                                             For Debtor 1                    For Debtor 2 or
                                                                                                                                                                                                                                                                             non-filina s[!ouse

    Copy line 4 here          . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   . . . . . . . .   -+ 4.          $2868                             $0


 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                                                                                                                                           5a.        $234                               $0

     5b. Mandatory contributions for retirement plans                                                                                                                                                                            5b.         $0                                $0

     5c. Voluntary contributions for retirement plans                                                                                                                                                                            5c.        $0                                 $0

     5d. Required repayments of retirement fund loans                                                                                                                                                                            5d.        $0                                 $0

     5e. Insurance                                                                                                                                                                                                               5e.        $954                               $0

     5f.   Domestic support obligations                                                                                                                                                                                          5f.        $0                                 $0

     5g. Union dues                                                                                                                                                                                                              5g.
                                                                                                                                                                                                                                            $0                                 $0

     5h. Other deductions. Specify:                                              -------                                                                                                                                         5h.       +$ 0                              + $0

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                                                                                                                                 6.         $ 1188                             $0


  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                                                                                                                         7.         $1680                              $0


 B. List all other income regularly received:

     Ba. Net income from rental property and from operating a business,
           profession, or farm

           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                                                                                                                                                                   Ba.

      Bb. Interest and dividends                                                                                                                                                                                                 Bb.

     Be. Family support payments that you, a non-filing spouse, or a dependent
           regularly receive

                                                                                                                                                                                                                                            $0                                 $0
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                                                                                                                                                                  Be.

     Bd. Unemployment compensation                                                                                                                                                                                               Bd.        $0                                 $0
      Be. Social Security                                                                                                                                                                                                        Be.        $0                                 $0

      Bf. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) of any non-cash assistance
           that you receive, such as food stamps (benefits under the Supplemental
           Nutrition Assistance Program) or housing subsidies.
           Specify:                                                                                                                                                                                                              Bf.
                                                                                                                                                                                                                                             0
                                                                                                                                                                                                                                            $_    ____
                                                                                                                                                                                                                                                                               $0

      Bg. Pension or retirement income                                                                                                                                                                                           Bg.        $_0   ____                         $0

      Bh. Other monthly income. Specify:                                                         ------                                                                                                                          Bh.   +$ 0                                  +$ 0

                                                                                                                                                                                                                                                                               $0
 9. Add all other income. Add lines Ba + Bb + Be + Bd + Be + Bf +Bg + Bh.                                                                                                                                                        9.
                                                                                                                                                                                                                                       1    $
                                                                                                                                                                                                                                                  o                   I I
10. Calculate monthly income. Add line 7 +line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                                                                                                                                   10.
                                                                                                                                                                                                                                       1    $._c:1:..:::6.:::
                                                                                                                                                                                                                                                         80:::_
                                                                                                                                                                                                                                                              :. _
                                                                                                                                                                                                                                                                 __   I+ I     $0                    I= 1
                                                                                                                                                                                                                                                                                                        $1680


11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

    Specify:                                                                                                                                                                                                                                                                                   11. +    $_0 _____




12. Add the amount in the last column of line 10 to the amount in line 1 1 . The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                                                                                                                                         12.
                                                                                                                                                                                                                                                                                                        Combined
                                                                                                                                                                                                                                                                                                        monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
    rc1    No.

    !Z'I   Yes. Explain:              I will discontinue this employment in September 19



Official Form 1061                                                                                                                                             Schedule 1: Your Income                                                                                                                      page 2
                     Case 2:19-bk-55093               Doc 1             Filed 08/07/19 Entered 08/07/19 14:31:51                                       Desc Main
                                                                       Document      Page 56 of 64

       Fill in this information to identify your case:


                             Kontarh               Tutu                         Kpogba
       Debtor    1
                              F1rst Name           Middle Name                    last Name                        Check if this is:

       Debtor2
       (Spouse, if filing)   First Name            Middle Name                    Last Name
                                                                                                                   0   An amended filing
                                                                                                                   0   A supplement showing postpetition chapter 13
       United States Bankruptcy Court for the:   SOUTHER         District of
                                                                               OHIO
                                                                                                                       expenses as of the following date:

       Case number                                                                                                     MM I   DD/   YYYY
       (If known)




  Official Form 1 06J

  Schedule J: Your Expenses                                                                                                                                              12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.


                             Describe Your Household


 1. Is this a joint case?

       � No. Go to line 2.
       p-Yes. Does Debtor 2 live in a separate household?
             � No
             [0" Yes. Debtor 2 must file Official Form 1 06J-2, Expenses for Separate Household of Debtor 2.
 2.     Do you have dependents?                  f[f No                                         Dependent's relationship to                Dependent's       Does dependent live
        Do not list Debtor 1 and                 � Yes. Fill out this information for           Debtor 1 or Debtor 2                       age               with you?
        Debtor 2.                                    each dependent..........................

        Do not state the dependents'                                                            daughter                                  19
                                                                                                                                                             [U No
        names.                                                                                                                                               � Yes
                                                                                                 son                                      14                 [IT No
                                                                                                                                                             � Yes
                                                                                                 Step daughter                            15                 � No
                                                                                                                                                             [CT Yes
                                                                                                husband                                   47                 jO" No
                                                                                                                                                             [;t Yes
                                                                                                                                                             lf7 No
                                                                                                                                                             ft' Yes
 3.    Do your expenses include
       expenses of people other than
                                                 � No
       yourself and your dependents?             f[f Yes
                      Estimate Your Ongoing Monthly Expenses

  Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter                                 13 case to   report

  expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
  applicable date.

  Include expenses paid for with non-cash government assistance if you know the value of

  such assistance and have included it on Schedule 1: Your Income (Official Form                        1 061.)                                Your expenses

  4.    The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                               $ 890
         any rent for the ground or lot.                                                                                            4.


         If not included in line 4:

         4a.     Real estate taxes                                                                                                  4a.
                                                                                                                                               $0

         4b.     Property, homeowner's, or renter's insurance                                                                       4b.
                                                                                                                                               $0

         4c.     Home maintenance, repair, and upkeep expenses                                                                      4c.
                                                                                                                                               $0

         4d.     Homeowner's association or condominium dues                                                                        4d.
                                                                                                                                               $0


Official Form 1 06J                                                      Schedule J: Your Expenses                                                                   page    1
               Case 2:19-bk-55093                 Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                            Desc Main
                                                                 Document      Page 57 of 64

 Debtor 1
                    Kontarh Tutu                   Kpogba                                    Case number (if known).
                                                                                                                   ____________ __ _

                    First Name     Middle Name       Last Name




                                                                                                                               Your expenses


                                                                                                                              $0
  5.   Additional mortgage payments for your residence, such as home equity loans                                      5.



  6.   Utilities:

       6a.    Electricity, heat, natural gas                                                                           6a.    $ 140

       6b.    Water, sewer, garbage collection                                                                         6b.    $65

       6c.    Telephone, cell phone, Internet, satellite, and cable services                                           6c.    $ 205

       6d.    Other. Specify: family cell phone plan                                                                   6d.    $0

 7.    Food and housekeeping supplies                                                                                  7.     $ 150

 8.    Childcare and children's education costs                                                                        8.     $ 200

  9.   Clothing, laundry, and dry cleaning                                                                             9.     $0

10.    Personal care products and services                                                                             10.    $ 50

11.    Medical and dental expenses                                                                                     11.    $0

12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                              $ 160
       Do not include car payments.                                                                                    12.


13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                              13.    $0

14.    Charitable contributions and religious donations                                                                14.    $0

15.    Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.


       15a.   Life insurance                                                                                           15a.   $ 108

       15b.   Health insurance                                                                                         15b.   $0

       15c.   Vehicle insurance                                                                                        15c.   $ 960

       15d.   Other insurance. Specify:    _________________ _
                                                                                                                       15d.   $0


16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                              $0
       Specify:     ------                                                                                             16.



17.    Installment or lease payments:

       17a.   Car payments for Vehicle 1                                                                               17a.
                                                                                                                              $ 295

       17b.   Car payments for Vehicle 2                                                                               17b.
                                                                                                                              $0

       17c.   Other. Specify:                                                                                          17c.
                                                                                                                              $0
                                 ____________________




       17d.   Other. Specify:                                                                                          17d.
                                                                                                                              $0
                                 _ _ ____ __ _ ___ __ _ _ __ __
                                                               _




18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 1 061).                                               18.   $0

19.    Other payments you make to support others who do not live with you.

       Specify:   ______________________
                                                                                                                        19.   $0
                                        _




20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1: Your Income.

       20a.   Mortgages on other property                                                                              20a.
                                                                                                                              $0

       20b.   Real estate taxes                                                                                        20b.
                                                                                                                              $0

       20c.   Property, homeowner's, or renter's insurance                                                             20c.
                                                                                                                              $0

       20d.   Maintenance, repair, and upkeep expenses                                                                 20d.
                                                                                                                              $ 0

       20e.   Homeowner's association or condominium dues                                                              20e.
                                                                                                                              $0




Official Form 1 06J                                              Schedule J: Your Expenses                                                     page 2
             Case 2:19-bk-55093                    Doc 1           Filed 08/07/19 Entered 08/07/19 14:31:51                             Desc Main
                                                                  Document      Page 58 of 64

  Debtor 1        Kontarh Tutu                       Kpogba                                     Case number (if known)
                                                                                                                     ________________

                  Ftrst Name        Middle Name       last Name




 21    Other. Specify:    ------                                                                                         21.   + $_o  ________




22.    Calculate your monthly expenses.


       22a. Add lines 4 through 21.                                                                                 22a.       $      3223

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.
                                                                                                                                $-
                                                                                                                                 _________




       22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.       $     _
                                                                                                                                      ______ _____



                                                                                                                                                    __




 23. Calculate your monthly net income.
                                                                                                                                 $ 1680
      23a.   Copy line 12      (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22c above.                                                         23b.      -$      3223


      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                 $     -1543
             The result is your    monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your

      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?


      � No.
      EfYes.       Explain here:




Official Form 106J                                                Schedule J: Your Expenses                                                     page 3
                 Case 2:19-bk-55093                     Doc 1                Filed 08/07/19 Entered 08/07/19 14:31:51                                                               Desc Main
                                                                            Document      Page 59 of 64
Fill in this information to identify your case:


Debtor 1              Kontarh                   Tutu                         Kpogba
                      First Name                Middle Name                     Last Name

Debtor 2
(Spouse, if filing)   First Name                M1ddle Name                     Last Name


United States Bankruptcy Court for the:       SOUTHER         District of   OHIO

Case number
(If known)
                                                                                                                                                                                         0   Check if this is an
                                                                                                                                                                                             amended filing




  Official Form 1 06Dec

  Declaration About an Individual Debtor's Schedules                                                                                                                                                   12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both.18 U.S.C. §§ 152, 1341,1519, and 3571.




                      Sign Below




       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


        0    No
        0    Yes.       Name of person.       _______                                                                        . Attach       Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                                               Signature (Official     Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




                                                                                   Signature of Debtor                     2
                                       '--"



         Date     i
                 MM/
                           UJ
                          DD       I
                                       Q{)/ q
                                       YYYY
                                                                                   Date
                                                                                            7M;:-M:-:/-cD;::';D:::-:/--:cYY;:-;Yc::Y.,---




 Official Form 1 060ec                                               Declaration About an Individual Debtor's Schedules
               Case 2:19-bk-55093                   Doc 1             Filed 08/07/19 Entered 08/07/19 14:31:51                                                        Desc Main
                                                                     Document      Page 60 of 64
  Fill in this information to identify your case:                                                                             Check one box only as directed in this form and in
                                                                                                                              Form 122A-1Supp:
                       Kontarh                   Tutu                         Kpogba
 Debtor   1
                                                                                                                             � 1. There is no presumption of abuse.
                       F1rst Name                Middle Name                     Last Name


 Debtor2
 (Spouse, if filing)   First Name                Middle Name                     Last Name                                   [Ef 2. The calculation to determine if a presumption of
                                                                                                                                    abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:     SOUTHER           District of   OHIO                                                   Means Test Calculation (Official Form 122A-2).

 Case number                                                                                                                 [[f 3. The Means Test does not apply now because of
  (If known)                                                                                                                        qualified military service but it could apply later.




                                                                                                                             0    Check if this is an amended filing



Official Form 122A-1

Chapter 7 Statement of Your Current Monthly Income                                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file                                        Statement of Exemption from Presumption of
Abuse Under§ 707(b){2)              (Official Form 122A-1Supp) with this form.


                  Calculate Your Current Monthly Income


 1. What is your marital and filing status? Check one only.

      0    Not married. Fill out Column A, lines 2-11.
      0    Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

      0    Married and your spouse is NOT filing with you. You and your spouse are:

           lJ      Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

              0    Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                   under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                   spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101 (1OA). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                                              ColumnA                        Column B
                                                                                                                              Debtor 1                       Debtor 2 or
                                                                                                                                                             non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                                          $_   ___,2""8'""
                                                                                                                                            6"'"8             $___         "'--
                                                                                                                                                                           0

 3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                                              $                               $
      Column B is filled in.                                                                                                   ____                            ____




 4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner. members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.
                                                                                                                              $   __       ---"-.0            $___
                                                                                                                                                                             0
                                                                                                                                                                           "'--

 5.   Net income from operating a business, profession,
                                                                               Debtor 1              Debtor 2
      or farm
      Gross receipts (before all deductions)                                    $__          0       $ __       0

      Ordinary and necessary operating expenses                               -$ __          0 -$      __       0
                                                                                                                    Copy
      Net monthly income from a business, profession, or farm                   $__
                                                                                             0   _   $ __           here-+    $___
                                                                                                                                               "-0            $___
                                                                                                                                                                             0
                                                                                                                                                                           ."-,

 6.   Net income from rental and other real property                           Debtor 1              Debtor 2
      Gross receipts (before all deductions)                                    $__
                                                                                             0       $__
                                                                                                                0

      Ordinary and necessary operating expenses                               -$ __          0 -$      __       0
                                                                                                                    Copy
      Net monthly income from rental or other real property
                                                                                $__          0       $__            here-+    $__
                                                                                                                                                    0   __    $___         ...:0 :_

 7.   Interest, dividends, and royalties                                                                                      $   __       ---=._0            $   ___      -'!...0




Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                                                                 page 1
               Case 2:19-bk-55093                       Doc 1          Filed 08/07/19 Entered 08/07/19 14:31:51                                                     Desc Main
                                                                      Document      Page 61 of 64

Debtor   1          Kontarh Tutu                         Kpogba                                               Case number (If known),           ________________

                    F1rst Name          Middle Name       Last Name



                                                                                                                  ColumnA                             Columna
                                                                                                                  Debtor 1                            Debtor 2 or
                                                                                                                                                      non-filing spouse

 8. Unemployment compensation                                                                                       $ __         _     __,._0           $___-->eo
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:___                     ___   .... �

             For you___                                                    $   _    _     _   __      _




             For your spouse...                                            $   ___                _
                                                                                                  _




 9.   Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                                        $____,__
                                                                                                                         0                             $_    __           ____0__,
 10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism. If necessary, list other sources on a separate page and put the total below.

                                                                                                                  o$             ----
                                                                                                                                  o --"---
                                                                                                                       __                              $___               �0
                                                                                                                  0$  ___
                                                                                                                                                       $_     __          _

         Total amounts from separate pages, if any.                                                             + $_       _    _     _
                                                                                                                                                   +$      ____




 11. Calculate your total current monthly income. Add lines 2 through 10 for each
      column. Then add the total for Column A to the total for Column B.                                                                        + ;    $__
                                                                                                                                                          _                   -"--.
                                                                                                                                                                               0      :=�I $�== 2 =
                                                                                                                                                                                                  868
                                                                                                                                                                                                   ;::=-.J
                                                                                                                                                                                           Total current
                                                                                                                                                                                           monthly income


                   Determine Whether the Means Test Applies to You


 12. Calculate your current monthly income for the year. Follow these steps:

      12a.      Copy your total current monthly income from line 11. ___ .............. _                                     _____ ...... Copy line 11       here+                    $   _ ____::;:
                                                                                                                                                                                               2 8.0:,:: 68�
                Multiply by 12 (the number of months in a year).                                                                                                                       X     12
      12b.      The result is your annual income for this part of the form.                                                                                           12b.             $-------"'---'---=-"-

 13. Calculate the median family income that applies to you. Follow these steps:


      Fill in the state in which you live.                                ·OHIO


      Fill in the number of people in your household.                          4

      Fill in the median family income for your state and size of household.                                                                            .. ............ 13.            $          89454
      To find a list of applicable median income amounts, go online using the link specified in the separate
      instructions for this form. This list may also be available at the bankruptcy clerk's office.

 14. How do the lines compare?


      14a    laf    Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3.

      14b.    lo    Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A-2.


                   Sign Below

                   By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.




                   j( �Signature of



                      I?{ (Q 't-}V( l1
                      Date
                                             btor                                                         Signature of Debtor 2



                                                                                                          Date ---;-;-;--:-:---=:----:-:-::-::-;
                                                                                                                                            :-;­
                                 MM I   DD     /YYYY                                                               MM/ DO /YYYY


                       If you checked line 14a, do NOT fill out or file Form 122A-2.

                       If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                   Chapter 7 Statement of Your Current Monthly Income                                                                                      page 2
          Case 2:19-bk-55093        Doc 1     Filed 08/07/19 Entered 08/07/19 14:31:51              Desc Main
FB 201A (Form 201A) (11112)                  Document      Page 62 of 64


                              UNITED STATES BANKRUPTCY COURT


                       NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                OF THE BANKRUPTCY CODE
        In accordance with§ 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: ( 1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.


        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.


        Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly­
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.


1. Services Available from Credit Counseling Agencies


        With limited exceptions,§ 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.


        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.


2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors


        Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
        Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a "means test" designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under§ 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
        Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
        The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
           Case 2:19-bk-55093        Doc 1     Filed 08/07/19 Entered 08/07/19 14:31:51                Desc Main
                                              Document      Page 63 of 64
           Form B 201A, Notice to Consumer Debtor(s)                                                         Page 2


your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
          Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.


          Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)
          Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
          Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
          After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.


          Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
          Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.


          Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
          Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.


3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials


          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.


WARNING: Section       521 (a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www. uscourts. gov /bkforms/bankruptcy forms.html#procedure.
           Case 2:19-bk-55093             Doc 1      Filed 08/07/19 Entered 08/07/19 14:31:51                        Desc Main
8 2018 (Form 2018) (12/09)
                                                    Document      Page 64 of 64

                                 UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN                         OHIO
                                                                  District Of

        Kpogba, Kontarh
In re                                                                               Case No.    -------




                              Debtor
                                                                                                7
                                                                                    Chapter   ___
                                                                                                 ____




                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER§ 342(b) OF THE BANKRUPTCY CODE

                                  Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certifY that I delivered to the debtor the
attached notice, as required by§ 342(b) of the Bankruptcy Code.



Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address:                                                                            preparer is not an individual, state the Social Security
                                                                                    number of the officer, principal, responsible person, or
                                                                                    partner of the bankruptcy petition preparer.) (Required
X____________________________
                                                                                    by 11 u.s.c. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.




                                                         Certification of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by§ 342(b) of the Bankruptcy
Code.



Printed Name(s) ofDebtor(s)

Case No. (if known)   _________________                                   x _____     �------�--------- -----

                                                                          signature of Joint Debtor (if any)             Date




Instructions: Attach a copy ofForrn B 201A, Notice to Consumer Debtor(s) Under§ 342(b) of the Bankruptcy Code.


Use this form to certifY that the debtor has received the notice required by 11 U.S.C.§ 342(b) only if the certification has
NOT been made on the Voluntary Petition, OfficialForrn B 1. Exhibit B on page 2 ofForrn B1 contains a certification by the
debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 ofForm B1 also include this certification.
